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                                      EXHIBIT A


     Overwatch Unsecured Notes to Colepin ATF Barrett and Sons Trading Co Superfund
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                     PROMISSORY NOTE AND WARRANT PURCHASE AGREEMENT

This Promissory Note and Warrant Purchase Agreement (this "Agreement") is made and entered into as of November
04, 2019 (“Effective Date”) by and between Overwatch Digital Health, Inc., a Texas corporation ("Company"), and
Colepin ATF Barrett and Sons Trading Co Super Fund ("Purchaser").

WHEREAS, the Company desires to sell to the Purchaser, and the Purchaser desires to purchase from the Company,
a promissory note in the principal amount of $200,000.00 (USD) (“Investment”) in the form attached hereto as Exhibit
A ("Note") and with such maturity dates set forth in the Note.

WHEREAS, as an inducement for the Purchaser to enter into this Agreement, the Company shall grant to the Purchaser
on the date of this Agreement a warrant to purchase shares of the Company's common stock (“Warrant Shares”,); all
Warrant Shares have an exercise price of $1.56 (“Exercise Price”) and are exercisable for a term of five years by cash
exercise only. The form of warrant is attached hereto as Exhibit B ("Warrant").

NOW, THEREFORE, in consideration of the foregoing recitals and the representations, and agreements set forth
herein and other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto agree as follows:

1.     PURCHASE AND SALE OF NOTES; GRANT OF WARRANTS.

        (a) Purchase and Sale of Note. Simultaneously with the execution and delivery of this Agreement, the
Purchaser shall deliver the Investment to the Company against delivery of the Note to the Purchaser by the Company.

        (b) Grant of Warrants. On the date of this Agreement, the Company shall grant to the Purchaser, and the
Purchaser shall accept from the Company, the Warrant.

2.     CLOSING DATE. The closing of the purchase and sale of the Note shall take place on the Effective Date.

3.     REPRESENTATIONS AND WARRANTIES OF THE COMPANY. The Company hereby represents and
warrants to the Purchaser, as of the date hereof:

          (a) Organization, Good Standing and Qualification. The Company is a corporation duly organized, validly
existing and in good standing under the laws of the State of Texas and has all corporate power and authority required
to (i) carry on its business as currently conducted and as proposed to be conducted by the Company and (ii) enter into
this Agreement, the Note and the Warrant and consummate the transactions contemplated hereby and thereby. The
Company is qualified to do business and is in good standing in each jurisdiction in which the failure to so qualify
would have a Material Adverse Effect on the Company. As used in this Agreement, "Material Adverse Effect" means
a material adverse change in, or a series of events which, in the aggregate, has a material adverse effect on or change
in, the business, financial condition, operations, assets or liabilities of the Company.

         (b) Due Authorization. All corporate action on the part of the Company necessary for the authorization,
execution and delivery of, and the performance of all obligations of the Company under, this Agreement, the Note
and the Warrant has been taken, and this Agreement, the Note and the Warrant constitute valid and legally binding
obligations of the Company, enforceable against the Company in accordance with their terms, except (i) as may be
limited by (A) applicable bankruptcy, insolvency, reorganization or others laws of general application relating to or
affecting the enforcement of creditors' rights generally and (B) the effects of rules of law governing the availability of
equitable remedies and (ii) as rights to indemnity or contribution may be limited under federal or state securities laws
or by principles of public policy thereunder.

         (c) Valid Issuance of Stock.




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              (i) Valid Issuance. The Warrant Shares have been duly and validly reserved for issuance and, upon
issuance, sale and delivery in accordance with the terms of the Warrant, will be duly and validly issued, fully paid,
non-assessable and free of preemptive rights binding on the Company.

             (ii) Compliance with Securities Laws. The Note and Warrant will be issued to the Purchaser in
compliance with applicable exemptions from the registration, prospectus delivery requirements and qualification
requirements of all applicable securities laws of the states of the United States.

          (d) Non-Contravention. The execution, delivery and performance by the Company of this Agreement, the
Note and the Warrant, and the consummation by the Company of the transactions contemplated hereby and thereby,
do not: (i) contravene or conflict with the Company's Certificate of Incorporation or the Company's By-Laws; (ii)
constitute a violation of any provision of any federal, state, local or foreign law or rule, regulation or requirement
binding upon or applicable to the Company; or (iii) constitute a default or require any consent under, give rise to any
right of termination, cancellation or acceleration of, or to a loss of any benefit to which the Company is entitled under,
or result in the creation or imposition of any lien, claim or encumbrance on any assets of the Company, except any
such default, consent, right of termination, cancellation or acceleration, loss or lien, claim or encumbrance which,
individually or in the aggregate, would not have a Material Adverse Effect on the Company.

          (e) Litigation. There is no action, suit, proceeding, claim, arbitration or investigation pending or, to the
Company's best knowledge, threatened: (i) against the Company or any of its subsidiaries, or any officer, director or
employee of the Company or any of its subsidiaries in connection with such officer's, director's or employee's
relationship with, or actions taken on behalf of, the Company or such subsidiary; or (ii) against the Company or any
of its subsidiaries, or any officer, director or employee of the Company or any of its subsidiaries that seeks to prevent,
enjoin, alter or delay any of the transactions contemplated by this Agreement.

4.     REPRESENTATIONS AND WARRANTIES OF THE PURCHASER. The Purchaser hereby represents and
warrants to the Company, as of the date hereof, that:

           (a) Investment Experience. The Purchaser understands that the acquisition of the Note and Warrant Shares
involves substantial risk. The Purchaser has experience as an Purchaser in securities of companies and acknowledges
that it is able to fend for itself, can bear the economic risk of its investment and has such knowledge and experience
in financial or business matters that it is capable of evaluating the merits and risks of its investment and protecting its
own interests in connection with this investment.

        (b) Accredited Purchaser Status. The Purchaser is an "accredited Purchaser" within the meaning of
Regulation D promulgated under the Securities Act.

5.      ADJUSTMENT AND RECLASSIFICATION PROVISIONS.

         (a) Reorganization, Reclassification or Recapitalization of the Company. In case of (i) a capital
reorganization, reclassification or recapitalization of the Warrant Shares (other than in the cases referred to in Section
3(c) hereof), (ii) the Company's consolidation or merger with or into another corporation in which the Company is not
the surviving entity, or a merger in which the Company is the surviving entity but the Warrant Shares outstanding
immediately prior to the merger are converted, by virtue of the merger, into other property, whether in the form of
securities, cash or otherwise, or (iii) the sale or transfer of all or substantially all of the Company's assets, then, as part
of such reorganization, reclassification, recapitalization, merger, consolidation, sale or transfer, lawful provision shall
be made so that there shall thereafter be deliverable upon the exercise of the Warrant or any portion thereof (in lieu of
or in addition to the number of Warrant Shares theretofore deliverable, as appropriate) and without payment of any
additional consideration, the number of shares of stock or other securities of property to which the holder of the number
of Warrant Shares which would otherwise have been deliverable upon the exercise of the Warrant or any portion
thereof at the time of such reorganization, reclassification, recapitalization, consolidation, merger, sale or transfer
would have been entitled to receive in such reorganization, reclassification, recapitalization, consolidation, merger,
sale or transfer. This Section 5(a) shall apply to successive reorganizations, reclassifications, recapitalizations,
consolidations, mergers, sales and transfers and to the stock or securities of any other corporation that are at the time


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receivable upon the exercise of the Warrant or any portion thereof. If the per share consideration payable to the
Purchaser for Warrant Shares in connection with any transaction described in this Section 5(a) is in a form other than
cash or marketable securities, then the value of such consideration shall be determined in good faith by the Company’s
Board of Directors.

        (b) Splits and Combinations. If the Company at any time or from time to time after the date of the Agreement
subdivides any of its outstanding Warrant Shares into a greater number of shares, the Exercise Price in effect
immediately prior to such subdivision shall be proportionately reduced, and, conversely, if the outstanding Warrant
Shares are combined into a smaller number of shares, the Exercise Price in effect immediately prior to such
combination shall be proportionately increased.

         (c) Reclassifications. If the Company reclassifies or otherwise changes any of the Warrant Shares into the
same or a different number of securities of any other class or classes, the Warrant Shares shall thereafter be convertible
into such number and kind of securities as would have been issuable as the result of such change with respect to the
Warrant Shares immediately prior to such reclassification or other change and the Exercise Price therefore shall be
appropriately adjusted.

         (d) Liquidation; Dissolution. If the Company shall dissolve, liquidate or wind up its affairs, the Purchaser
shall have the right, but not the obligation, to convert the Note and exercise the Warrant effective as of the date of
such dissolution, liquidation or winding up.

         (c) Adjustment Certificates. Upon any adjustment of the purchase price or the number of Warrant Shares
issuable upon exercise or conversion, a certificate, signed by (i) the Company's Chief Financial Officer or (ii) any
independent firm of certified public accountants of recognized national standing the Company selects at its own
expense, setting forth in reasonable detail the events requiring the adjustment and the method by which such
adjustment was calculated, shall be mailed to the Purchaser at the address set forth in Section 6 hereof and shall specify
such adjustments.

         (f) No Impairment. The Company shall not, by amendment of its Certificate of Incorporation or through any
reorganization, transfer of assets, merger, dissolution, issue or sale of securities or any other voluntary action, avoid
or seek to avoid the observance or performance of any of the terms hereunder by the Company, but shall at all times
in good faith assist in the carrying out of all provisions of this Agreement and in the taking of all such action as may
be necessary or appropriate in order to protect the rights of the Purchaser against impairment.

6.     MISCELLANEOUS.

        (a) Governing Law. This Agreement shall be governed by and construed under the internal laws of the State
of Texas, without reference to principles of conflict of laws or choice of laws.

       (b) Counterparts. This Agreement may be executed in two or more counterparts, each of which shall be
deemed an original, but all of which together shall constitute one and the same instrument.

         (c) Amendments and Waivers. This Agreement may be amended and the observance of any term of this
Agreement may be waived (either generally or in a particular instance and either retroactively or prospectively) only
with the written consent of the Company and the Purchaser.

         (d) Severability. If any provision of this Agreement is held to be unenforceable under applicable law, such
provision shall be excluded from this Agreement and the balance of the Agreement shall be interpreted as if such
provision were so excluded and shall be enforceable in accordance with its terms.

         (e) Entire Agreement. This Agreement, together with all exhibits and schedules hereto, constitutes the entire
agreement and understanding of the parties with respect to the subject matter hereof and supersedes any and all prior
negotiations, correspondence, agreements, understandings, duties or obligations between the parties with respect to
the subject matter hereof.

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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date and year first
above written.

                                                          OVERWATCH DIGITAL HEALTH, INC.



                                                          Terry Fokas
                                                          Chief Executive Officer


                                                          COLEPIN ATF BARRETT AND SONS TRADING
                                                          CO SUPER FUND



                                                          Name: Clive Barrett
                                                          Address: c/o Quantum Partners, Level 1, 95-97
                                                          Grafton Street Bondi Junction NSW 2022
                                                          Australia




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                                                      EXHIBIT A

                                                PROMISSORY NOTE

                                     OVERWATCH DIGITAL HEALTH, INC.

                                                 10% Promissory Note

                                 Maturity Date: December 04, 2019 or April 04, 2020

This Promissory Note is being delivered pursuant to that certain Promissory Note and Warrant Purchase Agreement,
dated as of November 04, 2019, between the Purchaser and the Company (the "Agreement"). All capitalized terms
used but not otherwise defined herein shall have the meaning ascribed to such terms in the Agreement.

          FOR VALUE RECEIVED, the Company promises to pay to Purchaser, the Investment, together with accrued
but unpaid interest thereon, on or before December 04, 2019 ("First Maturity Date") or on or before April 04, 2020
("Second Maturity Date"), as the case may be. In the event that the Company pays to Purchaser, the Investment,
together with accrued but unpaid interest thereon, on or before the First Maturity Date, interest on the outstanding
Investment shall accrue at a rate of 10.0% per annum ("First Interest Rate"). In the event that the Company pays to
Purchaser, the Investment, together with accrued but unpaid interest thereon, on or before the Second Maturity Date
interest on the outstanding Investment shall accrue at a rate of 20.0% per annum ("Second Interest Rate"). Payment
of the Investment together with accrued but unpaid interest thereon shall be paid on or before either the First Maturity
Date or the Second Maturity Date in the sole discretion of the Company.

          If all or a portion of the Investment and/or the First Interest Rate or the Second Interest Rate, as the case may
be, is not paid when due (either at the First Maturity Date or the Second Maturity Date), the Company hereby promises
to pay, on demand, interest on such overdue amount from and including the due date to, but excluding, the date such
amount is paid in full at 25% per annum (and until the date such overdue amount is paid in full, interest on such
overdue amount shall mean interest at such rate).

1.         Payment.

          (a) Payment of the Investment and the First Interest Rate or the Second Interest Rate, as the case may be,
when due (either at the First Maturity Date or the Second Maturity Date) shall be made by certified or bank
cashier's check payable to the Purchaser, or by bank wire transfer, in immediately available funds, to the account so
specified, in lawful money of the United States of America. If the maturity date occurs on a date that is not
a Business Day then the Investment or interest then due shall be paid on the next succeeding Business Day.
"Business Day" shall mean any day other than Saturday, Sunday or any day upon which banks are authorized or
required to be closed.

         (b) Prepayment. The Company may prepay and the holder may request prepayment of this Note at any time
without premium or penalty, in whole or in part, with accrued interest to the date of such payment on the amount
prepaid.

        (c) Application of Payments. Payments made in connection with this Note shall be applied first to amounts
due hereunder and thereafter to the First Interest Rate or Second Interest Rate interest and finally to the Investment.

2.         Default and Remedies.

               (a) If any of the following events or conditions (each an "Event of Default") shall occur and be
continuing:




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                    (i) The Company shall fail to pay the Investment and any interest due 30 days subsequent to the
the First Maturity Date or the Second Maturity Date, as the case may be;

                   (ii) an involuntary proceeding shall be commenced or an involuntary petition shall be filed in a
court of competent jurisdiction seeking (A) relief in respect of the Company, or of a substantial part of the property
or assets of the Company, under the bankruptcy laws of the United States Code, or any other Federal or
state bankruptcy, insolvency, receivership or similar law, (B) the appointment of a receiver, trustee, custodian,
conservator or similar official for the Company or for a substantial part of the properties or assets of the Company or
(C) the winding-up, liquidation or dissolution of the Company; and such proceeding or petition shall continue
undismissed for 90 days or an order or decree approving or ordering any of the foregoing shall be entered; or

                     (iii) the Company (A) voluntarily commences any proceeding or files any petition seeking relief
under the bankruptcy laws of the United States Code, or any other Federal or state bankruptcy, insolvency,
receivership or similar law, (B) consents to, or fails to contest in a timely and appropriate manner, the commencement
against of any proceeding or the filing of any petition described in clause (ii) above, (C) applies for or consents to the
appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for the Company or for a
substantial part of the properties or assets of the Company, (D) files an answer admitting the material allegations of a
petition filed against it in any such proceeding, (E) makes a general assignment for the benefit of creditors, (F) becomes
unable, admits in writing its inability or fails generally to pay its debts as they become due or (G) takes any action for
the purpose of effecting any of the foregoing; then, (x) in the case of an Event of Default specified in clause (a)(i) or
(ii) above, the Purchaser may, at any time during the continuance of such Event of Default, by written notice to the
Company, declare the entire outstanding Investment, together with all accrued and unpaid interest, to be due and
payable and (y) in the case of an Event of Default specified in clauses (a)(i), (ii), or (iii) above, the entire outstanding
Investment, together with all accrued and unpaid interest, shall automatically forthwith become due and payable
without presentment, protest or notice of any kind, all of which are hereby expressly waived by the Company.

         (b) Subject to the other terms of this Note, if an Event of Default occurs and is continuing, the Purchaser may
pursue any available remedy to collect the payment of the Investment or interest or to enforce the performance of any
provision of this Note. If an Event of Default occurs and is continuing, the Purchaser may proceed to protect and
enforce its rights by any action at law, suit in equity or other appropriate proceeding. In the case of a default in the
payment of the Investment or Interest, the Company will pay to the Purchaser such further amount as shall be sufficient
to cover the costs and expenses of collection, including, without limitation, reasonable attorneys' fees, expenses and
disbursements.

         (c) Default Interest. If an Event of Default occurs, the Interest will increase to 25% per annum subsequent
to the date of Event of Default.

3.         Notices

         All notices and other communications in connection herewith shall be in writing and be sent to:

 If to the Company to: Overwatch Digital Health, Inc.
                       17440 Dallas Parkway, Suite 230
                       Dallas, TX 75287
                       Attention: Chief Executive Officer



 If to the Purchaser to: As written on signatory page of the Agreement

4.         Miscellaneous.




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          This Note shall be construed and enforced in accordance with the laws of the State of Texas, without regard
to its conflicts of laws rules. The Company waives presentment, demand, notice, protest and all other demands and
notices in connection with the delivery, acceptance, performance, default and enforcement of this Note. The Company
hereby irrevocably and unconditionally submits, for itself and its property, to the non-exclusive jurisdiction of the
courts of the State of Texas and of the United States District Court for the Eastern District of Texas, and any appellate
court of such courts, in any action or proceeding arising out of or relating to this Note, or for recognition or
enforcement of any judgment, and the Company hereby irrevocably and unconditionally agrees that all claims in
respect of any such action or proceeding may be heard and determined in such Texas court (or, to the extent permitted
by law, in such federal court). The Company agrees that a final, unappealable judgment in any such action or
proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
manner provided by law. Nothing in this Note shall affect any right that the Purchaser may otherwise have to bring
any action or proceeding relating to this Note against the Company or its properties in the courts of any jurisdiction.

         If any provision of this Note shall be held invalid or unenforceable by any court of competent jurisdiction,
that holding shall not invalidate or render unenforceable any other provision hereof.

         This Note may not be changed, amended or modified except by agreement in writing signed by the Company
and the Purchaser.

        IN WITNESS WHEREOF, the Company has caused this Note to be signed on its behalf, in its corporate
name, by its duly authorized officer as an instrument under seal, as of November 04, 2019.


                                                              OVERWATCH DIGITAL HEALTH, INC.


                                                              Terry Fokas
                                                              Chief Executive Officer




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                                                    EXHIBIT B

                                   OVERWATCH DIGITAL HEALTH, INC.

                                         COMMON STOCK WARRANT

                                             Issued: November 04, 2019

                                   Warrant to Purchase Shares of Common Stock

                                        Expiration Date: November 04, 2024

       Overwatch Digital Health, Inc. ("Company"), hereby certifies that, for value received, Colepin ATF Barrett
and Sons Trading Co Super Fund (“Purchaser”) is entitled, on the terms set forth below, to purchase any time until
5:00 p.m., Central Time, on the Expiration Date the following fully paid and nonassessable shares of the Common
Stock of the Company, at a price per share of $1.56 (the "Purchase Price" – as subject to adjustment pursuant to
Section 5 of the Promissory Note and Warrant Purchase Agreement by and among the Company and Purchaser): (a)
In the event that the Company pays to Purchaser, the Investment, together with accrued but unpaid interest thereon,
on or before December 04, 2019 ("First Maturity Date") Purchaser may purchase at the Purchase Price up to $20,000
in Warrant Shares; (b) In the event that the Company pays to Purchaser, the Investment, together with accrued but
unpaid interest thereon, on or before April 04, 2020 ("Second Maturity Date") Purchaser may purchase at the
Purchase Price up to $30,000 in Warrant Shares; or (c) If all of the Investment and the interest, is not paid when due
(either at the First Maturity Date or the Second Maturity Date), Purchaser may purchase at the Purchase Price up to
$50,000 in Warrant Shares.

       This Warrant is being issued pursuant to the Promissory Note and Warrant Agreement dated November 04,
2019 between the Company and Purchaser (the "Agreement"). All capitalized terms used but not otherwise defined
herein shall have the meaning ascribed to such terms in the Agreement.

      1.          Exercise of Warrant; Transfer of Warrant.

                (a) Exercise of Warrant. At any time prior to 5:00 p.m. on the Expiration Date, the Warrant may be
exercised by the Purchaser, by surrendering this Warrant to the Company, together with an executed Notice of
Exercise, substantially in the form attached hereto as Exhibit 1, at the Company's primary executive office, with
payment by check to the Company of the amount obtained by multiplying the number of shares of Common Stock
with respect to which this Warrant is being exercised by the Purchase Price. No partial exercise of the Warrant is
allowed.

                 (b) Fractional Shares. No fractional shares of Common Stock shall be issued upon any exercise or
conversion of this Warrant. Instead of any fractional share which would otherwise be issuable upon exercise or
conversion, the Company shall pay a cash amount in respect of each fractional share at a price equal to an amount
calculated by multiplying such fractional share (calculated to the nearest 1/100th of a share) by the Fair Market Value
of a share of Common Stock on the date of exercise or conversion, as applicable, minus the Purchase Price. Payment
of such amount shall be made in cash or by check payable to the order of the Purchaser at the time of delivery of any
certificate or certificates arising upon such exercise or conversion.

                (c) Taxes. The Company will not be required to pay any tax imposed in connection with any transfer
involved in the issuance of a Warrant or a certificate for shares of Common Stock in any name other than that of the
Purchaser hereof, and in such case, the Company will not be required to issue or deliver any stock certificate or
Warrant until such tax is paid.

                 (d) Transfer of Warrant. Transfer of this Warrant to a third party shall be effected by execution and
delivery of the Notice of Assignment attached hereto as Exhibit 2 and surrender of this Warrant for registration of
transfer of this Warrant at the primary executive office of the Company, together with funds sufficient to pay any
applicable transfer tax. Upon receipt of the duly executed Notice of Assignment and the necessary transfer tax funds,
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if any, the Company, at its expense, shall execute and deliver, in the name of the designated transferee or transferees, one or
more new Warrants representing the right to purchase a like aggregate number of shares of Common Stock.

          2.           Notices of Record Date. In case (a) the Company takes a record of holder of Common Stock for the
   purpose of entitling them to receive any dividend or other distribution, or any right to subscribe for or purchase any
   shares of stock of any class or any other securities; (b) of any capital reorganization of the Company, any
   reclassification of the capital stock of the Company, any consolidation or merger of the Company with or into another
   corporation, or any conveyance of all or substantially all of the assets of the Company to another corporation; or (c)
   of any voluntary dissolution, liquidation or winding-up of the Company; then, in each such case, the Company will
   mail to each holder of a Warrant a notice specifying, as the case may be, (i) the date on which a record is to be taken
   for the purpose of such dividend, distribution or right, and stating the amount and character of such dividend,
   distribution or right, or (ii) the date on which such reorganization, reclassification, consolidation, merger, conveyance,
   dissolution, liquidation or winding-up is to take place, and time, if any is to be fixed, as of which the Purchasers of
   record of Common Stock (or such other stock or securities at the time receivable upon the exercise or conversion of
   the Warrant) will be entitled to exchange their shares of Common Stock for securities or other property deliverable
   upon such reorganization, reclassification, consolidation, merger, conveyance, dissolution, liquidation or winding-up.
   Such notice shall be mailed at least ten days prior to the date specified therein.

           4.         Replacement of Warrant. Upon receipt of evidence reasonably satisfactory to the Company of the
   loss, theft, destruction or mutilation of this Warrant and (in the case of loss, theft or destruction) or (in the case of
   mutilation) upon surrender and cancellation thereof, the Company at its expense, will issue a replacement.

          5.         Transferability of Warrant; No Redemption. This Warrant and all rights hereunder are freely
   transferable by the Purchaser, subject to compliance with applicable state and federal securities laws. This Warrant
   shall not be redeemable by the Company, in whole or in part, at any time.

          6.          Notices. All notices and other communications given hereunder shall be sent to:

   If to the Company to: Overwatch Digital Health, Inc.
                         17440 Dallas Parkway, Suite 230
                          Dallas, TX 75287
                         Attention: Chief Executive Officer

   If to the Purchaser to: As written on signatory page of the Agreement

          7.        Change; Amendment or Wavier. This Warrant may not be changed, amended or modified except by
   written agreement of the Company and the Purchaser.

         8.         Governing Law. This Warrant shall be construed in accordance with and governed by the laws of
   Texas without regard to its conflicts of laws rules.

   Dated: November 04, 2019

                                                                  OVERWATCH DIGITAL HEALTH, INC.



                                                                  Terry Fokas
                                                                  Chief Executive Officer




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                                                     EXHIBIT 1

                                     NOTICE OF EXERCISE OF WARRANT

TO: Overwatch Digital Health, Inc.

      1.       The undersigned hereby elects to receive              shares of Common Stock of Overwatch Digital
Health, Inc., pursuant to the terms of the attached Warrant.

      2.      Exercise. The undersigned tenders herewith payment in full for the purchase price of the shares being
purchased, together with all applicable transfer taxes, if any.

      3.     Please issue a certificate or certificates representing said shares of Common Stock in the name of the
undersigned or in such other name as is specified below:


                            (Name)



                            (Address)

       4.        All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such
terms in the Warrant.



                  Name of Purchaser


                  Signature of Authorized Signatory


                  Print Name and Title


                  Date




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                                                    EXHIBIT 2

                                       WARRANT ASSIGNMENT FORM

(To be executed only upon the assignment of the within Warrant)

       FOR VALUE RECEIVED, the undersigned registered Purchaser of the within Warrant hereby sells, assigns
and transfers unto                             , whose address is                              all of the rights of the
undersigned under the within Warrant, with respect to shares of Common Stock (as defined within the Warrant) of
Overwatch Digital Health, Inc., and, if such shares of Common Stock shall not include all the shares of Common
Stock issuable as provided in the within Warrant, that a new Warrant of like tenor for the number of shares of Common
Stock not being transferred hereunder be issued in the name of and delivered to the undersigned, and does hereby
irrevocably constitute and appoint                        attorney to register such transfer on the books of Overwatch
Digital Health, Inc. maintained for that purpose, with full power of substitution in the premises.

Dated:

By:
(Signature of Registered Purchaser)

Title:



 NOTICE: The signature to this Notice of Assignment must correspond with the name upon the face of the within
         Warrant in every particular, without alteration or enlargement or any change whatever.




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                     PROMISSORY NOTE AND WARRANT PURCHASE AGREEMENT

This Promissory Note and Warrant Purchase Agreement (this "Agreement") is made and entered into as of December
02, 2019 (“Effective Date”) by and between Overwatch Digital Health, Inc., a Texas corporation ("Company"), and
Colepin ATF Barrett and Sons Trading Co Super Fund ("Purchaser").

WHEREAS, the Company desires to sell to the Purchaser, and the Purchaser desires to purchase from the Company,
a promissory note in the principal amount of $200,000.00 (USD) (“Investment”) in the form attached hereto as Exhibit
A ("Note") and with such maturity dates set forth in the Note.

WHEREAS, as an inducement for the Purchaser to enter into this Agreement, the Company shall grant to the Purchaser
on the date of this Agreement a warrant to purchase shares of the Company's common stock (“Warrant Shares”,); all
Warrant Shares have an exercise price of $1.56 (“Exercise Price”) and are exercisable for a term of five years by cash
exercise only. The form of warrant is attached hereto as Exhibit B ("Warrant").

NOW, THEREFORE, in consideration of the foregoing recitals and the representations, and agreements set forth
herein and other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto agree as follows:

1.     PURCHASE AND SALE OF NOTES; GRANT OF WARRANTS.

        (a) Purchase and Sale of Note. Simultaneously with the execution and delivery of this Agreement, the
Purchaser shall deliver the Investment to the Company against delivery of the Note to the Purchaser by the Company.

        (b) Grant of Warrants. On the date of this Agreement, the Company shall grant to the Purchaser, and the
Purchaser shall accept from the Company, the Warrant.

2.     CLOSING DATE. The closing of the purchase and sale of the Note shall take place on the Effective Date.

3.     REPRESENTATIONS AND WARRANTIES OF THE COMPANY. The Company hereby represents and
warrants to the Purchaser, as of the date hereof:

          (a) Organization, Good Standing and Qualification. The Company is a corporation duly organized, validly
existing and in good standing under the laws of the State of Texas and has all corporate power and authority required
to (i) carry on its business as currently conducted and as proposed to be conducted by the Company and (ii) enter into
this Agreement, the Note and the Warrant and consummate the transactions contemplated hereby and thereby. The
Company is qualified to do business and is in good standing in each jurisdiction in which the failure to so qualify
would have a Material Adverse Effect on the Company. As used in this Agreement, "Material Adverse Effect" means
a material adverse change in, or a series of events which, in the aggregate, has a material adverse effect on or change
in, the business, financial condition, operations, assets or liabilities of the Company.

         (b) Due Authorization. All corporate action on the part of the Company necessary for the authorization,
execution and delivery of, and the performance of all obligations of the Company under, this Agreement, the Note
and the Warrant has been taken, and this Agreement, the Note and the Warrant constitute valid and legally binding
obligations of the Company, enforceable against the Company in accordance with their terms, except (i) as may be
limited by (A) applicable bankruptcy, insolvency, reorganization or others laws of general application relating to or
affecting the enforcement of creditors' rights generally and (B) the effects of rules of law governing the availability of
equitable remedies and (ii) as rights to indemnity or contribution may be limited under federal or state securities laws
or by principles of public policy thereunder.

         (c) Valid Issuance of Stock.




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              (i) Valid Issuance. The Warrant Shares have been duly and validly reserved for issuance and, upon
issuance, sale and delivery in accordance with the terms of the Warrant, will be duly and validly issued, fully paid,
non-assessable and free of preemptive rights binding on the Company.

             (ii) Compliance with Securities Laws. The Note and Warrant will be issued to the Purchaser in
compliance with applicable exemptions from the registration, prospectus delivery requirements and qualification
requirements of all applicable securities laws of the states of the United States.

          (d) Non-Contravention. The execution, delivery and performance by the Company of this Agreement, the
Note and the Warrant, and the consummation by the Company of the transactions contemplated hereby and thereby,
do not: (i) contravene or conflict with the Company's Certificate of Incorporation or the Company's By-Laws; (ii)
constitute a violation of any provision of any federal, state, local or foreign law or rule, regulation or requirement
binding upon or applicable to the Company; or (iii) constitute a default or require any consent under, give rise to any
right of termination, cancellation or acceleration of, or to a loss of any benefit to which the Company is entitled under,
or result in the creation or imposition of any lien, claim or encumbrance on any assets of the Company, except any
such default, consent, right of termination, cancellation or acceleration, loss or lien, claim or encumbrance which,
individually or in the aggregate, would not have a Material Adverse Effect on the Company.

          (e) Litigation. There is no action, suit, proceeding, claim, arbitration or investigation pending or, to the
Company's best knowledge, threatened: (i) against the Company or any of its subsidiaries, or any officer, director or
employee of the Company or any of its subsidiaries in connection with such officer's, director's or employee's
relationship with, or actions taken on behalf of, the Company or such subsidiary; or (ii) against the Company or any
of its subsidiaries, or any officer, director or employee of the Company or any of its subsidiaries that seeks to prevent,
enjoin, alter or delay any of the transactions contemplated by this Agreement.

4.     REPRESENTATIONS AND WARRANTIES OF THE PURCHASER. The Purchaser hereby represents and
warrants to the Company, as of the date hereof, that:

           (a) Investment Experience. The Purchaser understands that the acquisition of the Note and Warrant Shares
involves substantial risk. The Purchaser has experience as an Purchaser in securities of companies and acknowledges
that it is able to fend for itself, can bear the economic risk of its investment and has such knowledge and experience
in financial or business matters that it is capable of evaluating the merits and risks of its investment and protecting its
own interests in connection with this investment.

        (b) Accredited Purchaser Status. The Purchaser is an "accredited Purchaser" within the meaning of
Regulation D promulgated under the Securities Act.

5.      ADJUSTMENT AND RECLASSIFICATION PROVISIONS.

         (a) Reorganization, Reclassification or Recapitalization of the Company. In case of (i) a capital
reorganization, reclassification or recapitalization of the Warrant Shares (other than in the cases referred to in Section
3(c) hereof), (ii) the Company's consolidation or merger with or into another corporation in which the Company is not
the surviving entity, or a merger in which the Company is the surviving entity but the Warrant Shares outstanding
immediately prior to the merger are converted, by virtue of the merger, into other property, whether in the form of
securities, cash or otherwise, or (iii) the sale or transfer of all or substantially all of the Company's assets, then, as part
of such reorganization, reclassification, recapitalization, merger, consolidation, sale or transfer, lawful provision shall
be made so that there shall thereafter be deliverable upon the exercise of the Warrant or any portion thereof (in lieu of
or in addition to the number of Warrant Shares theretofore deliverable, as appropriate) and without payment of any
additional consideration, the number of shares of stock or other securities of property to which the holder of the number
of Warrant Shares which would otherwise have been deliverable upon the exercise of the Warrant or any portion
thereof at the time of such reorganization, reclassification, recapitalization, consolidation, merger, sale or transfer
would have been entitled to receive in such reorganization, reclassification, recapitalization, consolidation, merger,
sale or transfer. This Section 5(a) shall apply to successive reorganizations, reclassifications, recapitalizations,
consolidations, mergers, sales and transfers and to the stock or securities of any other corporation that are at the time


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receivable upon the exercise of the Warrant or any portion thereof. If the per share consideration payable to the
Purchaser for Warrant Shares in connection with any transaction described in this Section 5(a) is in a form other than
cash or marketable securities, then the value of such consideration shall be determined in good faith by the Company’s
Board of Directors.

        (b) Splits and Combinations. If the Company at any time or from time to time after the date of the Agreement
subdivides any of its outstanding Warrant Shares into a greater number of shares, the Exercise Price in effect
immediately prior to such subdivision shall be proportionately reduced, and, conversely, if the outstanding Warrant
Shares are combined into a smaller number of shares, the Exercise Price in effect immediately prior to such
combination shall be proportionately increased.

         (c) Reclassifications. If the Company reclassifies or otherwise changes any of the Warrant Shares into the
same or a different number of securities of any other class or classes, the Warrant Shares shall thereafter be convertible
into such number and kind of securities as would have been issuable as the result of such change with respect to the
Warrant Shares immediately prior to such reclassification or other change and the Exercise Price therefore shall be
appropriately adjusted.

         (d) Liquidation; Dissolution. If the Company shall dissolve, liquidate or wind up its affairs, the Purchaser
shall have the right, but not the obligation, to convert the Note and exercise the Warrant effective as of the date of
such dissolution, liquidation or winding up.

         (c) Adjustment Certificates. Upon any adjustment of the purchase price or the number of Warrant Shares
issuable upon exercise or conversion, a certificate, signed by (i) the Company's Chief Financial Officer or (ii) any
independent firm of certified public accountants of recognized national standing the Company selects at its own
expense, setting forth in reasonable detail the events requiring the adjustment and the method by which such
adjustment was calculated, shall be mailed to the Purchaser at the address set forth in Section 6 hereof and shall specify
such adjustments.

         (f) No Impairment. The Company shall not, by amendment of its Certificate of Incorporation or through any
reorganization, transfer of assets, merger, dissolution, issue or sale of securities or any other voluntary action, avoid
or seek to avoid the observance or performance of any of the terms hereunder by the Company, but shall at all times
in good faith assist in the carrying out of all provisions of this Agreement and in the taking of all such action as may
be necessary or appropriate in order to protect the rights of the Purchaser against impairment.

6.     MISCELLANEOUS.

        (a) Governing Law. This Agreement shall be governed by and construed under the internal laws of the State
of Texas, without reference to principles of conflict of laws or choice of laws.

       (b) Counterparts. This Agreement may be executed in two or more counterparts, each of which shall be
deemed an original, but all of which together shall constitute one and the same instrument.

         (c) Amendments and Waivers. This Agreement may be amended and the observance of any term of this
Agreement may be waived (either generally or in a particular instance and either retroactively or prospectively) only
with the written consent of the Company and the Purchaser.

         (d) Severability. If any provision of this Agreement is held to be unenforceable under applicable law, such
provision shall be excluded from this Agreement and the balance of the Agreement shall be interpreted as if such
provision were so excluded and shall be enforceable in accordance with its terms.

         (e) Entire Agreement. This Agreement, together with all exhibits and schedules hereto, constitutes the entire
agreement and understanding of the parties with respect to the subject matter hereof and supersedes any and all prior
negotiations, correspondence, agreements, understandings, duties or obligations between the parties with respect to
the subject matter hereof.

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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date and year first
above written.

                                                          OVERWATCH DIGITAL HEALTH, INC.



                                                          Terry Fokas
                                                          Chief Executive Officer


                                                          COLEPIN ATF BARRETT AND SONS TRADING
                                                          CO SUPER FUND



                                                          Name: Clive Barrett
                                                          Address: c/o Quantum Partners, Level 1, 95-97
                                                          Grafton Street Bondi Junction NSW 2022
                                                          Australia




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                                                      EXHIBIT A

                                                PROMISSORY NOTE

                                     OVERWATCH DIGITAL HEALTH, INC.

                                                 10% Promissory Note

                                  Maturity Date: January 02, 2019 or April 04, 2020

This Promissory Note is being delivered pursuant to that certain Promissory Note and Warrant Purchase Agreement,
dated as of December 02, 2019, between the Purchaser and the Company (the "Agreement"). All capitalized terms
used but not otherwise defined herein shall have the meaning ascribed to such terms in the Agreement.

          FOR VALUE RECEIVED, the Company promises to pay to Purchaser, the Investment, together with accrued
but unpaid interest thereon, on or before January 02, 2019 ("First Maturity Date") or on or before April 04, 2020
("Second Maturity Date"), as the case may be. In the event that the Company pays to Purchaser, the Investment,
together with accrued but unpaid interest thereon, on or before the First Maturity Date, interest on the outstanding
Investment shall accrue at a rate of 10.0% per annum ("First Interest Rate"). In the event that the Company pays to
Purchaser, the Investment, together with accrued but unpaid interest thereon, on or before the Second Maturity Date
interest on the outstanding Investment shall accrue at a rate of 20.0% per annum ("Second Interest Rate"). Payment
of the Investment together with accrued but unpaid interest thereon shall be paid on or before either the First Maturity
Date or the Second Maturity Date in the sole discretion of the Company.

          If all or a portion of the Investment and/or the First Interest Rate or the Second Interest Rate, as the case may
be, is not paid when due (either at the First Maturity Date or the Second Maturity Date), the Company hereby promises
to pay, on demand, interest on such overdue amount from and including the due date to, but excluding, the date such
amount is paid in full at 25% per annum (and until the date such overdue amount is paid in full, interest on such
overdue amount shall mean interest at such rate).

1.         Payment.

          (a) Payment of the Investment and the First Interest Rate or the Second Interest Rate, as the case may be,
when due (either at the First Maturity Date or the Second Maturity Date) shall be made by certified or bank
cashier's check payable to the Purchaser, or by bank wire transfer, in immediately available funds, to the account so
specified, in lawful money of the United States of America. If the maturity date occurs on a date that is not a
Business Day then the Investment or interest then due shall be paid on the next succeeding Business Day. "Business
Day" shall mean any day other than Saturday, Sunday or any day upon which banks are authorized or required to be
closed.

         (b) Prepayment. The Company may prepay and the holder may request prepayment of this Note at any time
without premium or penalty, in whole or in part, with accrued interest to the date of such payment on the amount
prepaid.

        (c) Application of Payments. Payments made in connection with this Note shall be applied first to amounts
due hereunder and thereafter to the First Interest Rate or Second Interest Rate interest and finally to the Investment.

2.         Default and Remedies.

               (a) If any of the following events or conditions (each an "Event of Default") shall occur and be
continuing:




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                    (i) The Company shall fail to pay the Investment and any interest due 30 days subsequent to the
the First Maturity Date or the Second Maturity Date, as the case may be;

                   (ii) an involuntary proceeding shall be commenced or an involuntary petition shall be filed in a
court of competent jurisdiction seeking (A) relief in respect of the Company, or of a substantial part of the property
or assets of the Company, under the bankruptcy laws of the United States Code, or any other Federal or
state bankruptcy, insolvency, receivership or similar law, (B) the appointment of a receiver, trustee, custodian,
conservator or similar official for the Company or for a substantial part of the properties or assets of the Company or
(C) the winding-up, liquidation or dissolution of the Company; and such proceeding or petition shall continue
undismissed for 90 days or an order or decree approving or ordering any of the foregoing shall be entered; or

                     (iii) the Company (A) voluntarily commences any proceeding or files any petition seeking relief
under the bankruptcy laws of the United States Code, or any other Federal or state bankruptcy, insolvency,
receivership or similar law, (B) consents to, or fails to contest in a timely and appropriate manner, the commencement
against of any proceeding or the filing of any petition described in clause (ii) above, (C) applies for or consents to the
appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for the Company or for a
substantial part of the properties or assets of the Company, (D) files an answer admitting the material allegations of a
petition filed against it in any such proceeding, (E) makes a general assignment for the benefit of creditors, (F) becomes
unable, admits in writing its inability or fails generally to pay its debts as they become due or (G) takes any action for
the purpose of effecting any of the foregoing; then, (x) in the case of an Event of Default specified in clause (a)(i) or
(ii) above, the Purchaser may, at any time during the continuance of such Event of Default, by written notice to the
Company, declare the entire outstanding Investment, together with all accrued and unpaid interest, to be due and
payable and (y) in the case of an Event of Default specified in clauses (a)(i), (ii), or (iii) above, the entire outstanding
Investment, together with all accrued and unpaid interest, shall automatically forthwith become due and payable
without presentment, protest or notice of any kind, all of which are hereby expressly waived by the Company.

         (b) Subject to the other terms of this Note, if an Event of Default occurs and is continuing, the Purchaser may
pursue any available remedy to collect the payment of the Investment or interest or to enforce the performance of any
provision of this Note. If an Event of Default occurs and is continuing, the Purchaser may proceed to protect and
enforce its rights by any action at law, suit in equity or other appropriate proceeding. In the case of a default in the
payment of the Investment or Interest, the Company will pay to the Purchaser such further amount as shall be sufficient
to cover the costs and expenses of collection, including, without limitation, reasonable attorneys' fees, expenses and
disbursements.

         (c) Default Interest. If an Event of Default occurs, the Interest will increase to 25% per annum subsequent
to the date of Event of Default.

3.         Notices

         All notices and other communications in connection herewith shall be in writing and be sent to:

 If to the Company to: Overwatch Digital Health, Inc.
                       17440 Dallas Parkway, Suite 230
                       Dallas, TX 75287
                       Attention: Chief Executive Officer



 If to the Purchaser to: As written on signatory page of the Agreement

4.         Miscellaneous.




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          This Note shall be construed and enforced in accordance with the laws of the State of Texas, without regard
to its conflicts of laws rules. The Company waives presentment, demand, notice, protest and all other demands and
notices in connection with the delivery, acceptance, performance, default and enforcement of this Note. The Company
hereby irrevocably and unconditionally submits, for itself and its property, to the non-exclusive jurisdiction of the
courts of the State of Texas and of the United States District Court for the Eastern District of Texas, and any appellate
court of such courts, in any action or proceeding arising out of or relating to this Note, or for recognition or
enforcement of any judgment, and the Company hereby irrevocably and unconditionally agrees that all claims in
respect of any such action or proceeding may be heard and determined in such Texas court (or, to the extent permitted
by law, in such federal court). The Company agrees that a final, unappealable judgment in any such action or
proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
manner provided by law. Nothing in this Note shall affect any right that the Purchaser may otherwise have to bring
any action or proceeding relating to this Note against the Company or its properties in the courts of any jurisdiction.

         If any provision of this Note shall be held invalid or unenforceable by any court of competent jurisdiction,
that holding shall not invalidate or render unenforceable any other provision hereof.

         This Note may not be changed, amended or modified except by agreement in writing signed by the Company
and the Purchaser.

        IN WITNESS WHEREOF, the Company has caused this Note to be signed on its behalf, in its corporate
name, by its duly authorized officer as an instrument under seal, as of November 04, 2019.


                                                              OVERWATCH DIGITAL HEALTH, INC.


                                                              Terry Fokas
                                                              Chief Executive Officer




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                                                    EXHIBIT B

                                   OVERWATCH DIGITAL HEALTH, INC.

                                         COMMON STOCK WARRANT

                                             Issued: December 02, 2019

                                   Warrant to Purchase Shares of Common Stock

                                        Expiration Date: December 02, 2024

       Overwatch Digital Health, Inc. ("Company"), hereby certifies that, for value received, Colepin ATF Barrett
and Sons Trading Co Super Fund (“Purchaser”) is entitled, on the terms set forth below, to purchase any time until
5:00 p.m., Central Time, on the Expiration Date the following fully paid and nonassessable shares of the Common
Stock of the Company, at a price per share of $1.56 (the "Purchase Price" – as subject to adjustment pursuant to
Section 5 of the Promissory Note and Warrant Purchase Agreement by and among the Company and Purchaser): (a)
In the event that the Company pays to Purchaser, the Investment, together with accrued but unpaid interest thereon,
on or before January 02, 2019 ("First Maturity Date") Purchaser may purchase at the Purchase Price up to $20,000 in
Warrant Shares; (b) In the event that the Company pays to Purchaser, the Investment, together with accrued but
unpaid interest thereon, on or before April 04, 2020 ("Second Maturity Date") Purchaser may purchase at the
Purchase Price up to $30,000 in Warrant Shares; or (c) If all of the Investment and the interest, is not paid when due
(either at the First Maturity Date or the Second Maturity Date), Purchaser may purchase at the Purchase Price up to
$50,000 in Warrant Shares.

       This Warrant is being issued pursuant to the Promissory Note and Warrant Agreement dated December 02,
2019 between the Company and Purchaser (the "Agreement"). All capitalized terms used but not otherwise defined
herein shall have the meaning ascribed to such terms in the Agreement.

      1.          Exercise of Warrant; Transfer of Warrant.

                (a) Exercise of Warrant. At any time prior to 5:00 p.m. on the Expiration Date, the Warrant may be
exercised by the Purchaser, by surrendering this Warrant to the Company, together with an executed Notice of
Exercise, substantially in the form attached hereto as Exhibit 1, at the Company's primary executive office, with
payment by check to the Company of the amount obtained by multiplying the number of shares of Common Stock
with respect to which this Warrant is being exercised by the Purchase Price. No partial exercise of the Warrant is
allowed.

                 (b) Fractional Shares. No fractional shares of Common Stock shall be issued upon any exercise or
conversion of this Warrant. Instead of any fractional share which would otherwise be issuable upon exercise or
conversion, the Company shall pay a cash amount in respect of each fractional share at a price equal to an amount
calculated by multiplying such fractional share (calculated to the nearest 1/100th of a share) by the Fair Market Value
of a share of Common Stock on the date of exercise or conversion, as applicable, minus the Purchase Price. Payment
of such amount shall be made in cash or by check payable to the order of the Purchaser at the time of delivery of any
certificate or certificates arising upon such exercise or conversion.

                (c) Taxes. The Company will not be required to pay any tax imposed in connection with any transfer
involved in the issuance of a Warrant or a certificate for shares of Common Stock in any name other than that of the
Purchaser hereof, and in such case, the Company will not be required to issue or deliver any stock certificate or
Warrant until such tax is paid.

                (d) Transfer of Warrant. Transfer of this Warrant to a third party shall be effected by execution and
delivery of the Notice of Assignment attached hereto as Exhibit 2 and surrender of this Warrant for registration of
transfer of this Warrant at the primary executive office of the Company, together with funds sufficient to pay any
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applicable transfer tax. Upon receipt of the duly executed Notice of Assignment and the necessary transfer tax funds if
any, the Company, at its expense, shall execute and deliver, in the name of the designated transferee or
transferees, one or more new Warrants representing the right to purchase a like aggregate number of shares
of Common Stock.

       2.           Notices of Record Date. In case (a) the Company takes a record of holder of Common Stock for the
purpose of entitling them to receive any dividend or other distribution, or any right to subscribe for or purchase any
shares of stock of any class or any other securities; (b) of any capital reorganization of the Company, any
reclassification of the capital stock of the Company, any consolidation or merger of the Company with or into another
corporation, or any conveyance of all or substantially all of the assets of the Company to another corporation; or (c)
of any voluntary dissolution, liquidation or winding-up of the Company; then, in each such case, the Company will
mail to each holder of a Warrant a notice specifying, as the case may be, (i) the date on which a record is to be taken
for the purpose of such dividend, distribution or right, and stating the amount and character of such dividend,
distribution or right, or (ii) the date on which such reorganization, reclassification, consolidation, merger, conveyance,
dissolution, liquidation or winding-up is to take place, and time, if any is to be fixed, as of which the Purchasers of
record of Common Stock (or such other stock or securities at the time receivable upon the exercise or conversion of
the Warrant) will be entitled to exchange their shares of Common Stock for securities or other property deliverable
upon such reorganization, reclassification, consolidation, merger, conveyance, dissolution, liquidation or winding-up.
Such notice shall be mailed at least ten days prior to the date specified therein.

        4.         Replacement of Warrant. Upon receipt of evidence reasonably satisfactory to the Company of the
loss, theft, destruction or mutilation of this Warrant and (in the case of loss, theft or destruction) or (in the case of
mutilation) upon surrender and cancellation thereof, the Company at its expense, will issue a replacement.

       5.         Transferability of Warrant; No Redemption. This Warrant and all rights hereunder are freely
transferable by the Purchaser, subject to compliance with applicable state and federal securities laws. This Warrant
shall not be redeemable by the Company, in whole or in part, at any time.

       6.         Notices. All notices and other communications given hereunder shall be sent to:

 If to the Company to: Overwatch Digital Health, Inc.
                       17440 Dallas Parkway, Suite 230
                        Dallas, TX 75287
                       Attention: Chief Executive Officer

 If to the Purchaser to: As written on signatory page of the Agreement

       7.        Change; Amendment or Wavier. This Warrant may not be changed, amended or modified except by
written agreement of the Company and the Purchaser.

      8.         Governing Law. This Warrant shall be construed in accordance with and governed by the laws of
Texas without regard to its conflicts of laws rules.

Dated: December 02, 2019

                                                               OVERWATCH DIGITAL HEALTH, INC.



                                                               Terry Fokas
                                                               Chief Executive Officer



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                                                     EXHIBIT 1

                                     NOTICE OF EXERCISE OF WARRANT

TO: Overwatch Digital Health, Inc.

      1.       The undersigned hereby elects to receive              shares of Common Stock of Overwatch Digital
Health, Inc., pursuant to the terms of the attached Warrant.

      2.      Exercise. The undersigned tenders herewith payment in full for the purchase price of the shares being
purchased, together with all applicable transfer taxes, if any.

      3.     Please issue a certificate or certificates representing said shares of Common Stock in the name of the
undersigned or in such other name as is specified below:


                            (Name)



                            (Address)

       4.        All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such
terms in the Warrant.



                  Name of Purchaser


                  Signature of Authorized Signatory


                  Print Name and Title


                  Date




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                                                    EXHIBIT 2

                                       WARRANT ASSIGNMENT FORM

(To be executed only upon the assignment of the within Warrant)

       FOR VALUE RECEIVED, the undersigned registered Purchaser of the within Warrant hereby sells, assigns
and transfers unto                             , whose address is                              all of the rights of the
undersigned under the within Warrant, with respect to shares of Common Stock (as defined within the Warrant) of
Overwatch Digital Health, Inc., and, if such shares of Common Stock shall not include all the shares of Common
Stock issuable as provided in the within Warrant, that a new Warrant of like tenor for the number of shares of Common
Stock not being transferred hereunder be issued in the name of and delivered to the undersigned, and does hereby
irrevocably constitute and appoint                        attorney to register such transfer on the books of Overwatch
Digital Health, Inc. maintained for that purpose, with full power of substitution in the premises.

Dated:

By:
(Signature of Registered Purchaser)

Title:



 NOTICE: The signature to this Notice of Assignment must correspond with the name upon the face of the within
         Warrant in every particular, without alteration or enlargement or any change whatever.




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                                     EXHIBIT B


      Overwatch Secured Note to Colepin ATF Barrett and Sons Trading Co Superfund
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  CONVERTIBLE NOTE DEED




                                                                                 Overwatch Digital Health, Inc.
                                                                                 (“Company”)



                                                                                 Colepin ATF Barrett and Sons Trading
                                                                                 Co Super Fund
                                                                                 (“Investor”)




    PHONE (61-8) 6211 5000        FAX (61-8) 6211 5055     ABN 83 662 050 668

  POSTAL ADDRESS             PO Box Z5433, St Georges Tce Perth WA 6831
  ADDRESS                    Level 24 St Martins Tower 44 St Georges Tce
                             Perth WA 6000
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            This convertible promissory note deed is dated February 15, 2019.


            Parties
            Overwatch Digital Health, Inc., a Texas corporation (and including, all of its wholly-owned
            subsidiaries and affiliates, collectively, the “Company”); and

            Colepin ATF Barrett and Sons Trading Co Super Fund, whose business address is c/o
            Quantum Partners, Level 1, 95-97 Grafton Street Bondi Junction NSW 2022
            Australia (“Investor”)



            Background
            A.      The Company has developed an epilepsy management and monitoring system and has
                    signed a binding conditional heads of agreement to undertake a reverse takeover on the
                    ASX (“RTO”) to raise a minimum of $4,000,000 (AUD).
            B.      The Company wishes to raise up to $1,000,000 (USD) prior to the RTO to Eligible Investors
                    in accordance with the terms and conditions of this deed.
            C.      Upon completion of the RTO, the Notes will automatically convert into Shares.
            D.      Each Investor, being an Eligible Investor, agrees to subscribe for a Note on the terms and
                    conditions of this deed.


            Agreed terms
            1       Interpretation
            1.1     Definitions
                    In this deed:
                    (a)     Accession Deed means the accession deed set out in Schedule 2;
                    (b)     Act means the United States Securities Act of 1933, as amended.
                    (c)     ASX means ASX Limited ACN 008 624 691 or the Australian Securities Exchange,
                            as the context requires;
                    (d)     Authorised Persons means, in relation to a party:
                            (i)        the directors, shareholders, limited partners, general partners and their
                                       representatives, and any other person appointed to act as an authorised
                                       officer of that party;
                            (ii)       the employees of that party;
                            (iii)      the legal, financial and other advisers of that party; and
                            (iv)       the respective officers and employees of those legal, financial and other
                                       advisers;
                    (e)     Availability Period means the period of 3 months from the date of this deed, or
                            such longer period determined by the Company;




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                    (f)     Business Day means a day other than a Saturday, Sunday or public holiday in
                            Dallas, Texas;
                    (g)     Certificate of Formation means the Certificate of Formation of the Company (as
                            amended from time to time);
                    (h)     Change in Control means the occurrence of any one or more of the following: (i)
                            the accumulation, whether directly, indirectly, beneficially or of record, by any
                            individual, entity or group of 50% or more of the shares of the outstanding Shares,
                            whether by merger, consolidation, sale or other transfer of Shares (other than a
                            merger or consolidation where the shareholders of the Company prior to the merger
                            or consolidation are the holders of a majority of the voting securities of the entity
                            that survives such merger or consolidation), or (ii) a sale of all or substantially all of
                            the assets of the Company, provided, however, that the following acquisitions shall
                            not constitute a Change of Control for the purposes of this deed: (A) any
                            acquisitions of Shares or securities convertible into Shares directly from the
                            Company, or (B) any acquisition of Shares or securities convertible into Shares by
                            any employee benefit plan (or related trust) sponsored by or maintained by the
                            Company.
                    (i)     Claim includes any claim, demand, proceeding, suit, litigation, investigation, audit,
                            action or cause of action in contract, tort, under statute or otherwise;
                    (j)     Conversion Date means the date on which the Company issues Shares under the
                            Prospectus or immediately prior to a Change in Control;
                    (k)     Conversion Price means a price per Share which converts the Face Value of all
                            the Notes into forty percent equity ownership of the Company, on a fully-diluted
                            basis (the “Conversion Ownership Percentage”), and which is currently anticipated
                            to be $1.50 (USD). For purposes of clarity, the Conversion Ownership Percentage
                            will marginally increase as a result of the conversion of interest that has accrued on
                            the Notes.
                    (l)     Corporations Act means the Australian Corporations Act 2001 (Cth);
                    (m)     Default Event means any of the events or circumstances described in Clause 10.1;
                    (n)     Eligible Investor means a sophisticated or professional investor for the purposes
                            of (a) section 708 of the Corporations Act and (b)Rule 501 under the Act, or any
                            other person to whom securities can be issued without disclosure in accordance
                            with applicable securities laws, who is invited by the Company to subscribe for
                            Notes, including the Investor;
                    (o)     Face Value means $1,000 per each Note;
                    (p)     Force Majeure Event means an act of war (whether declared or not), hostilities,
                            invasion, act of foreign enemies, terrorism or civil disorder in each case affecting on
                            a general basis the business of the Company; (b) a strike or strikes or other
                            industrial action or any other form of civil disturbance (whether lawful or not), in
                            each case affecting on a general basis the business of the Company and the
                            settlement of which is beyond the reasonable control of the Company; (c)
                            earthquake or any other natural disaster of overwhelming proportions; or (d) other
                            unforeseeable circumstances beyond the control of the Company against which it
                            would have been unreasonable to take precautions against and which the Company
                            cannot avoid even by using its best efforts, which in each case directly causes the
                            Company to be unable to comply with all or a material part of its obligations under
                            the Notes, including, without limitation, the redemption of the Notes by the Maturity
                            Date;




                                                                                                                    2
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                    (q)     Funding Date means, in respect of a Note, the date on which the Face Value of
                            the Note is to be paid by the Investor to the Company, as specified in the Term
                            Sheet;
                    (r)     Government Agency means any government or government department, any
                            governmental, semi-governmental or judicial authority or person, any statutory body
                            or authority or body exercising any administrative or legislative function;
                    (s)     Interest End Date means a date determined by the Company which falls within the
                            1-month period prior to the Lodgement Date, or in the event that the RTO does not
                            complete, the date immediately preceding the Maturity Date;
                    (t)     Investor means an Eligible Investor who agrees to subscribe for, and to whom the
                            Company agrees to issue, a Note in accordance with clause 2.3;
                    (u)     Listing Rules means the official listing rules of the ASX;
                    (v)     Lodgement Date the date that the Company lodges a prospectus with Australian
                            Securities and Investments Commission for the purposes of the RTO;
                    (w)     Loss means any liability, loss, damage, judgment, cost, charge, expense,
                            diminution in value or deficiency of any kind or character which a party pays, suffers
                            or incurs or is liable for, however arising;
                    (x)     Majority Investors mean Investors holding Notes issued under this deed who
                            represent at least 66.67% of the aggregate Face Value of all Notes.
                    (y)     Maturity Date means the date that is 9 months after the date of this deed unless a
                            Force Majeure Event occurs, in which case the Maturity Date shall be extended per
                            each Force Majeure Event but until 18 months from the date of this deed, or such
                            later date agreed by the parties in writing;
                    (z)     Monies Payable means, in respect of a Note, at any particular time, the amount of
                            the Face Value plus interest accrued in accordance with clause 3.1;
                    (aa)    Note means a convertible note issued by the Company under this deed;
                    (bb)    Note Certificate means a certificate in the form set out in Schedule 3;
                    (cc)    Prospectus means the prospectus to be issued by the Company to raise a
                            minimum of $4,000,000 (AUD) under the RTO;
                    (dd)    Register means a register of holders of Notes established and maintained by the
                            Company under Clause 7;
                    (ee)    RTO means the reverse takeover onto the ASX to be undertaken by the Company;
                    (ff)    Security means any document or transaction which reserves or creates a Security
                            Interest;
                    (gg)    Security Agreement means the security agreement attached at Annexure A;
                    (hh)    Security Interest means any mortgage, pledge, lien, charge, assignment,
                            hypothecation or security interest, or any other agreement or arrangement having
                            a similar commercial or legal effect, and includes an agreement to grant or create
                            any of those agreements or arrangements;
                    (ii)    Share means a fully paid common share par value $0.001 (USD) each, in the
                            capital of the Company;
                    (jj)    Shareholder means a holder of one or more Shares; and
                    (kk)    Term Sheet means a term sheet in the form set out in Schedule 1, and which
                            document must not be inconsistent with the terms and conditions of this deed. To




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                            avoid doubt, if the Term Sheet is inconsistent with this deed then this deed prevails
                            to the extent of the inconsistency.
            1.2     Interpretation
                    In this deed, unless the context otherwise requires:
                    (a)     words importing the singular include the plural and vice versa;
                    (b)     words importing a gender include any gender;
                    (c)     other parts of speech and grammatical forms of a word or phrase defined in this
                            deed have a corresponding meaning;
                    (d)     an expression importing a natural person includes any company, partnership, joint
                            venture, association, corporation or other body corporate and any governmental
                            agency;
                    (e)     if a party comprises two or more persons, the covenants and agreements on their
                            part bind and shall be observed and performed by them jointly and each of them
                            severally and may be enforced against any one or any two or more of them;
                    (f)     a reference to a part, clause, party, annexure, exhibit or schedule is a reference to
                            a part and clause of, and a party, annexure, exhibit and schedule to, this deed and
                            a reference to this deed includes any annexure, exhibit and schedule;
                    (g)     a reference to a statute, regulation, proclamation, ordinance or by-law includes all
                            statutes, regulations, proclamations, ordinances or by-laws amending,
                            consolidating or replacing it, and a reference to a statute includes all regulations,
                            proclamations, ordinances and by-laws issued under that statute;
                    (h)     a reference to a document includes all amendments or supplements to, or
                            replacements or novations of, that document;
                    (i)     a reference to a party to a document includes that party’s successors and permitted
                            assigns;
                    (j)     no provision of this deed will be construed adversely to a party solely on the ground
                            that the party was responsible for the preparation of this deed or that provision;
                    (k)     a reference to an agreement other than this deed includes an undertaking,
                            agreement, agreement or legally enforceable arrangement or understanding
                            whether or not in writing;
                    (l)     a reference to a body, other than a party to this deed (including, without limitation,
                            an institute, association or authority), whether statutory or not:
                            (i)       which ceases to exist; or
                            (ii)      whose powers or functions are transferred to another body,
                            is a reference to the body which replaces it or which substantially succeeds to its
                            powers or functions;
                    (m)     a right includes a benefit, remedy, discretion or power;
                    (n)     includes, including, for example or similar expressions means that expression
                            without limitation;
                    (o)     Unless otherwise stated, ‘$’ or ‘USD’ is a reference to the currency of the United
                            States of America;
                    (p)     a reference to time is to local time in Dallas, Texas;




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                    (q)     where the day on or by which any thing is to be done is not a Business Day, that
                            thing must be done on or by the next Business Day; and
                    (r)     where time is to be calculated by reference to a day or event, that day or the day of
                            the event is included.
            1.3     Headings
                    Headings are for convenience only and do not affect the interpretation of this deed.
            1.4     Executed as a deed
                    This document is executed as a deed for the purposes of the law.


            2       Issue of Notes
            2.1     Issue of Notes
                    During the Availability Period, the Company may issue Notes to Eligible Investors in
                    accordance with the terms and conditions of this deed.
            2.2     Maximum amount to be raised
                    The minimum aggregate of the Face Value of all Notes issued under this deed shall be
                    $500,000 and the maximum shall be $1,000,000.
            2.3     Agreement to subscribe
                    (a)     The Investor agrees to subscribe for, and the Company agrees to issue, the Notes
                            specified in the Term Sheet signed by the Company and the Investor on or about
                            the date of this deed.
                    (b)     During the Availability Period, If an Eligible Investor other than the Investor agrees
                            to subscribe for a Note, and the Company agrees to issue the Note, then:
                            (i)       the Eligible Investor and the Company must enter into a Term Sheet which
                                      specifies:
                                      (A)     the Face Value;
                                      (B)     the Funding Date; and
                                      (C)     the Maturity Date; and
                            (ii)      the Eligible Investor must enter into an Accession Deed under which it
                                      agrees to be bound by this deed as if named as a party; and.
                            (iii)     The Investor fills out and submits to the Company an accredited investor
                                      questionnaire which complies with Israeli law.
            2.4     Payment and issue
                    (a)     Subject to clause 2.3, the Investor must pay to the Company an amount equal to
                            the Face Value of the Note on the Funding Date in accordance with the Term Sheet.
                    (b)     Within 2 Business Days of receiving the Face Value in accordance with clause
                            2.4(a), the Company must:
                            (i)       issue to the Investor the Note specified in the Term Sheet by registering the
                                      Investor as the holder of the Note in the Company Register; and
                            (ii)      provide to the Investor the Note Certificate in respect of the Note issued.




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            3       Notes
            3.1     Interest
                    (a)     Each Note will accrue interest at the rate of 8% per annum on the Face Value.
                            Interest shall be calculated on the basis of a 365-day year for the actual number of
                            days elapsed from the applicable Funding Date until the Interest End Date.
                    (b)     Accrued interest will form part of the Monies Payable in respect of a Note and will
                            be repayable by the Company in cash (if clause applies 3.2) or Shares (if clause 4
                            applies).
            3.2     Repayment in cash
                    If the Company has not completed the RTO by the Maturity Date, the Company must
                    redeem each Note within 15 Business Days of the Maturity Date by paying the Monies
                    Payable to the Investor.
            3.3     Quotation
                    A Note will not be quoted or listed on any stock exchange.
            3.4     Security
                    The Notes shall be secured on the in accordance with Clause 5 of this deed.
            3.5     Voting rights
                    A Note will not provide any voting rights at Shareholder meetings of the Company or other
                    rights as a shareholder of the Company. In the absence of conversion of this Note, no
                    provisions of this Note, and no enumeration herein of the rights or privileges of Holder with
                    respect to this Note, shall itself cause Holder to be a shareholder of the Company for any
                    purpose.
            3.6     Transferability
                    A Note is freely transferable subject to the Investor lodging with the Company:
                    (a)     a proper instrument of transfer, duly stamped if necessary, executed by the
                            transferor and by the transferee, together with the original Note Certificate for the
                            Note to which the transfer relates; and
                    (b)     an Accession Deed executed by the transferee.
            3.7     Re-issue
                    A Note that is converted or redeemed in accordance with this deed will automatically be
                    cancelled and is not available for re-issue.


            4       Conversion
            4.1     Conversion into Shares
                    Each Note (in whole) will automatically convert into Shares on the Conversion Date.
            4.2     Conversion option
                    In the event of a Change in Control transaction, each Investor shall have the option
                    immediately prior to the closing of such transaction to either: (a) convert each Note into
                    Shares; or (b) redeem each Note for the Face Value plus accrued and unpaid Interest. The
                    Company shall give each Investor not less than 20-days prior notice of a Change in Control
                    transaction.




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            4.3      Optional conversion
                    In the event the Company consummates, while this Note remains outstanding, an equity
                    financing pursuant to which it sells Shares in a transaction which results in total proceeds
                    to the Company of not less than $1,000,000 (USD) (excluding conversion of the Notes) and
                    which does not constitute an RTO, then the Investors shall have the option at such time to
                    convert their Notes on the same terms set forth in Clause 4.4.

            4.4     Conversion entitlements
                    On the Conversion Date, the Investor will be entitled to, and the Company must allot and
                    issue to the Investor, Shares based on the following formula:
                                                             S = MP / CP
                    Where:
                    S is the number of Shares to be issued to the Investor;
                    MP is the Monies Payable in respect of the Note at the Conversion Date; and
                    CP is the Conversion Price.
            4.5     Issue of Shares
                    On the Conversion Date, the Company must allot and issue to the Investor the full number of
                    Shares required to be issued in accordance with Clause 4.2 (rounded up if applicable). As
                    soon as reasonably practicable thereafter, the Company must provide to the Investor a
                    holding statement in respect of the Shares issued to the Investor.
                    Upon conversion of a Note in accordance with this Clause 4, the Investor is taken to have
                    agreed to:
                    (a)      subscribe for the Shares that are to be issued upon conversion of the Note;
                    (b)      become a Shareholder;
                    (c)      have its name entered in the Company’s register of Shareholders; and
                    (d)      be bound by the Certificate of Formation.
            4.6     Terms of Shares
                    Shares issued upon the conversion of a Note will rank equally in all respects with existing
                    Shares on issue.
            4.7     Compliance with law
                    Despite any other provision of this deed, if an issue of Shares under this deed would
                    contravene the Act, Corporations Act or any other applicable laws then, to the extent such
                    issue would contravene such law, the Company’s obligation to issue the relevant securities
                    will be deferred until such time or times as the issue of Shares would not contravene the
                    relevant law.
            4.8     ASX escrow
                    The parties acknowledge that ASX may require any or all of the Shares issued under this
                    deed to be escrowed for a certain period of time pursuant to the Listing Rules, or otherwise
                    as determined by the ASX. The parties agree to enter into, or procure entry into, any
                    agreements necessary to give effect to any escrow imposed by ASX.




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            5       Security
                    (a)     The Notes shall be secured by the grant of a Security Interest over all of the present
                            and future assets of the Company, including its intellectual property, in favour of the
                            Investors in accordance with the Security Agreement.
                    (b)     Contemporaneously with the execution of this deed, the parties must execute the
                            Security Agreement and, as soon as reasonably practicable, do all things necessary
                            to register and perfect the Security Interest created under the Security Agreement.


            6       Indebtedness
            6.1     Acknowledgment of indebtedness
                    The Company acknowledges that, on and from the Funding Date of a Note, and at all times
                    before the repayment of the Note in accordance with Clause 3.2 or the conversion of the
                    Note in accordance with Clause 4, it will be indebted to the Investors in the amount of
                    Monies Payable by all investors.
            6.2     Satisfaction of obligations
                    The repayment of a Note in accordance with Clause 3.2 or the conversion of a Note in
                    accordance with Clause 4, operates in full satisfaction of the Company’s obligations to the
                    Investor with respect to the Note, and the obligations of the Company with respect to the
                    Note will be extinguished and the Note will be deemed to be cancelled.


            7       Register
            7.1     Establishment and maintenance
                    The Company must establish and maintain a register of the Notes issued by the Company
                    under this deed.
            7.2     Holder details
                    The Company must include the following information in the Register in respect of the issued
                    Notes:
                    (a)     the name and address of each holder;
                    (b)     the certificate number of Notes held by each holder and their aggregate Face Value;
                            and
                    (c)     details of all transfers, repayments, redemption and conversion of the Notes.


            8       Company warranties and undertakings
            8.1     Company warranties
                    The Company represents and warrants to the Investor:
                    (a)     (status) it is a corporation with limited liability and is properly incorporated and
                            validly existing under the laws of the place of its incorporation;
                    (b)     (shares) that it has one class of common shares.
                    (c)     (capacity) it has full legal capacity and power to own its assets and to carry on its
                            business as it is presently being conducted and to enter into and perform the
                            transactions contemplated by this deed;




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                    (d)     (authority) it has taken all corporate and other action necessary to authorise the
                            execution and performance of this deed so that it is fully valid and binding on and
                            enforceable against it, except as limited by bankruptcy, insolvency or other laws of
                            general application relating to or affecting the enforcement of creditors’ rights
                            generally and general principles of equity;
                    (e)     (authorisations) all authorisations, approvals, permits, consents, filings and
                            registrations necessary or advisable for or in connection with this deed have been
                            obtained and are in full force and effect; and
                    (f)     (no litigation) no litigation or arbitration, administrative proceedings or other
                            procedure for the resolution of disputes is currently taking place, pending or, to its
                            knowledge threatened against it or its assets, revenues or business or which may
                            have a material adverse effect on it.
            8.2     Company undertakings
                    So long as the Notes are not converted or paid, the Company undertakes to the Investor:
                    (a)     (maintain status) to maintain its status as a company limited by shares
                            incorporated under the laws of the place of its incorporation and not to transfer nor
                            permit the transfer of its jurisdiction of incorporation;
                    (b)     (comply with applicable laws) to ensure that the Company complies with all
                            applicable laws related to its business (including without limitation all listing rules
                            and requirements of ASX);
                    (c)     (authorisations) to obtain, maintain and comply with any authorisations which the
                            Company requires to carry out the transactions contemplated in, and to ensure the
                            validity, enforceability and admissibility in evidence of, this deed in all relevant
                            jurisdictions;
                    (d)     (notice of litigation) to give the Investor prompt notice of any litigation, arbitration
                            or administrative proceedings whatsoever which the Company would reasonably
                            deems to be expected to have a material adverse effect to the business of the
                            Company;
                    (e)     (inspection of records) upon notice of not less than five business days, to permit
                            and cause to be permitted during normal business hours, the Majority Investors,
                            persons authorised by the Investor and any employee, agent or consultant of the
                            Majority Investors to examine and take copies of the books of account and all other
                            documents relating to the business or activities of the Company, whether in the
                            possession or under the control of the Company; provided, however, that such
                            information shall be subject to the confidentiality designations provided in this deed
                            and provided further that such examination shall be made not more than 1 time in
                            each calendar quarter; Such right shall expire upon conversion of the deed to
                            Shares.
                    (f)     (notice of incorrect warranty) to notify the Investor promptly if any representation
                            or warranty made in this deed or undertaking taken to be made by or on behalf of
                            the Company in connection with this deed or a Note is found to be materially
                            incorrect or materially misleading when made or taken to be made and would
                            reasonably deems to be expected to have a material adverse effect to the business
                            of the Company;
                    (g)     (default certificate) on the written request of the Investor, to promptly provide the
                            Investor with a certificate signed by an officer of the Company which states in writing
                            whether a Default Event or event which with the giving of notice, lapse of time or
                            fulfilment of any condition would become a Default Event continues unremedied
                            and is not waived; and



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                    (h)     (board member) to reserve one seat on the Company’s board of directors for a
                            director to be nominated by the Majority Investors.
                    (i)     (intellectual property) the Company owns or possesses sufficient legal rights to all
                            of the intellectual property necessary or required to conduct its business as now
                            conducted and as presently proposed to be conducted. Each current and former
                            employee and consultant of the Company has assigned to the Company all
                            intellectual property rights he or she owns that are related to the Company’s
                            business as now conducted and as presently proposed to be conducted.
                    (j)     (employee and consultant agreements) each current and former employee and
                            consultant of the Company has executed an agreement with the Company
                            containing confidentiality, non-disclosure of the Company’s proprietary information,
                            inventions assignment, non-solicitation and non-compete provisions. No current or
                            former employee, consultant or officer has excluded works or inventions from his or
                            her inventions assignment obligations to the Company.
            8.3     Reliance
                    The Company acknowledges that the Investor has entered into this deed in reliance on the
                    representations and warranties given by the Company in this deed.
            8.4     Disclosure
                    The Investor acknowledges that the Company is not liable in respect of any Loss or Claim
                    to the extent that the matter giving rise to the Loss or Claim was disclosed:
                    (a)     by the Company to the Investor in writing prior to the date of this deed; or
                    (b)     in public records dated prior to the date of this deed including searches of public
                            registers.


            9       Investor warranties
            9.1     Investor warranties
                    The Investor represents and warrants to the Company:
                    (a)     (status) if the Investor is a Company, it is a corporation with limited liability and is
                            properly incorporated and validly existing under the laws of its country of
                            registration;
                    (b)     (capacity) it has full legal capacity and power to own its assets and to carry on its
                            business as it is presently being conducted and to enter into and perform the
                            transactions contemplated by this deed;
                    (c)     (authority) if the Investor is a Company, it has taken all corporate and other action
                            necessary to authorise the execution and performance of this deed so that it is fully
                            valid and binding on and enforceable against it, except as limited by bankruptcy,
                            insolvency or other laws of general application relating to or affecting the
                            enforcement of creditors’ rights generally and general principles of equity;
                    (d)     (authorisations) all authorisations, approvals, permits, consents, filings and
                            registrations necessary or advisable for or in connection with this deed have been
                            obtained and are in full force and effect; and
                    (e)     (exempt investor) on the date of this deed, and on each date securities are issued
                            under this deed, the Investor is eligible to receive an offer of, and issue of, securities
                            under this deed in accordance with all applicable securities laws, and there is no
                            requirement for a prospectus or any other form of disclosure document to be lodged




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                            or registered with any Government Agency for the purposes of the Company
                            offering or issuing securities to the Investor under this deed.
                    (f)     The Investor has such knowledge and experience in financial and business matters
                            that the Investor is capable of evaluating the merits and risks of such investment, is
                            able to incur a complete loss of such investment without impairing the Investor’s
                            financial condition and is able to bear the economic risk of such investment for an
                            indefinite period of time. The Investor’s principal place of business is correctly set
                            forth beneath the Investor’s name on the signature pages hereto.
            9.2     Reliance
                    The Investor acknowledges that the Company has entered into this deed in reliance on the
                    representations and warranties given by the Investor in this deed.


            10      Default Events
            10.1    Default Events
                    Each of the following is a Default Event:
                    (a)     (other obligations) the Company fails to comply with any provision of this deed
                            which failure, if capable of remedy, is not remedied within 10 Business Days from
                            the Company’s receipt of notice from the Majority Investors ;
                    (b)     (misrepresentation) any representation, warranty or statement made or repeated
                            in or in connection with this deed is untrue or misleading (whether by omission or
                            otherwise) when so made or repeated or becomes untrue or misleading when taken
                            as a whole and which has a material adverse effect on the Company's business;
                    (c)     (involuntary winding up) an application or order is made for the winding up of the
                            Company or for the appointment of a liquidator and such appointment was not
                            dismissed within 45 Business Days;
                    (d)     (voluntary winding up) the Company passes a resolution for its winding up;
                    (e)     (receiver) a receiver, controller or analogous person is appointed to take
                            possession of all, or any part of, the assets of the Company or a Subsidiary of the
                            Company and such appointment was not dismissed within 30 Business Days;
                    (f)     (insolvency) the Company:
                            (i)       an involuntary Insolvency proceeding is begun against the Company and
                                      not dismissed or stayed within forty-five (45) Business Days; or
                            (ii)      the Company (i) is, or is deemed for the purposes of any law to be, unable
                                      to pay its debts as they fall due, or insolvent; (ii) admits its inability to pay its
                                      debts as they fall due;
                    (g)     (compromise or arrangement) the Company takes any step for the purpose of
                            entering into a compromise or arrangement with any of its members or creditors
                            except for the purpose of a reconstruction, amalgamation, merger or consolidation
                            on terms approved by the Majority Investors;
                    (h)     (failure to comply with waiver) if any Default Event (or occurrence which would
                            otherwise have been or become a Default Event) is conditionally waived by the
                            Majority Investors and the Company does not comply with those conditions or those
                            conditions are not fulfilled (whether by the Company or any other person) or are or
                            become incapable of fulfilment and such non-compliance is not remedied within 10
                            Business Days from the Majority Investors written notice to the Company.




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            10.2    Power on default
                    If a Default Event occurs, the Majority Investors may, at any time during which the Default
                    Event remains unremedied, by written notice to the Company, declare all Monies Payable
                    to be immediately due and payable to the Investors, and the Company must immediately
                    pay such Monies Payable to the Investors.


            11      Payments
            11.1    Method of payment
                    All payments in connection with this deed must be made:
                    (a)     by unendorsed bank cheque payable to the party to whom the payment is due, or
                            to any other person nominated in writing by the party to whom the payment is due,
                            no later than 3.00pm on the due date for payment;
                    (b)     by way of direct transfer of immediately available funds to an account nominated in
                            writing by the party to whom the payment is due no later than 3.00pm on the due
                            date for payment; or
                    (c)     in such other form of immediately available funds or cleared funds as may be
                            agreed in writing between the parties.
            11.2    Right of set off
                    If any amount is payable by the Investor to the Company under this deed, the Company is
                    entitled to set off that amount against any amount payable by the Company to the Investor
                    under this deed.


            12      Notices
            12.1    Notices in writing
                    A notice or other communication connected with or provided under this deed does not have
                    any legal effect unless it is in writing and in the English language.
            12.2    Method of service
                    In addition to any other method of service provided by law, the notice may be:
                    (a)     delivered by hand at the address of the addressee party set out in this deed or
                            subsequently notified;
                    (b)     sent by prepaid post to the address of the addressee party set out in this deed or
                            subsequently notified;
                    (c)     sent by facsimile to the facsimile number of the addressee party at the
                            commencement of this deed or such other number as may be notified; or
                    (d)     by electronic communication including email.
            12.3    Addresses for service
                    (a)     The authorised address of each party for service of notices is the address set
                            opposite its name below, or such other address as the party may from time to time
                            advise by notice to the other parties:
                                    Overwatch Digital Health, Inc.17440 N Dallas Parkway, Suite 230
                                    Dallas, Texas 75287
                                    United States of America




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                                      Attention:        Terry Fokas
                                                        Chief Executive Officer
                                      Facsimile:        N/A
                                      Email:            terryfokas_esq@yahoo.com


                            (i)       As listed in Schedule 2
                    (b)     Despite clause 12.3(a), a party may also serve a notice to another party at any of
                            the following addresses:
                            (i)       for a party that is an individual, that party’s principal place of residence; or
                            (ii)      for a party that is a corporation:
                                      (A)      that party’s registered office; or
                                      (B)      that party’s principal place of business.
            12.4    Deemed receipt
                    If a notice is sent or delivered in a manner provided by clause 12.2, it must be treated as
                    given to and received by the addressee party if delivered or transmitted before 5.00pm on
                    a Business Day in the place of receipt:
                    (a)     if delivered by hand, on the date of delivery;
                    (b)     if sent by post, on the second Business Day (at the address to which it is posted)
                            after posting unless returned to the sender party;
                    (c)     if delivered by facsimile, upon the date of transmission provided that a transmission
                            confirmation is generated by the sender party; or
                    (d)     if delivered by electronic communication, upon the date of transmission provided
                            that a delivery receipt is obtained by the addressee party.
            12.5    Facsimile transmission
                    A facsimile transmission is legible unless the addressee party telephones the sender party:
                    (a)     if during the hours of 9.00am and 5.00pm on a Business Day in the place of the
                            addressee party, within 2 hours after transmission is received; or
                    (b)     if outside the hours specified in clause 12.5(a), by 11.00am on the next Business
                            Day,
                    informing the sender party that it is not legible.


            13      Costs

                    The Company will bear all costs (including legal costs), of and incidental to the preparation,
                    negotiation and execution of this deed. l
            13.1    Governing law and jurisdiction
                    (a)     This deed is governed by and construed in accordance with the laws of the United
                            States and the State of Texas without regard to conflicts of laws provision.




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            13.2     The parties consent to the exclusive jurisdiction and venue of the state and federal courts
                    in Collin County, Texas and agree to waive all objections to personal jurisdiction, venue
                    and forum non conveniens.
                    (a)
            13.3    Assignment
                    Subject to Clause 3.6, a party must not assign or deal with any right under this deed without
                    the prior written consent of the other parties. Any purported dealing in breach of this Clause
                    13.3 is of no effect.
            13.4    Variation
                    An amendment or variation to this deed is not effective unless it is in writing and signed by
                    the Company and the Majority Investors
            13.5    Further assurances
                    Each party must sign, execute and do all deeds, acts, documents and things as may
                    reasonably be required by the other party to effectively carry out and give effect to the terms
                    and intentions of this deed.
            13.6    Severance
                    If any provision or part of a provision of this deed is held or found by a court of competent
                    jurisdiction to be void, invalid or otherwise unenforceable (whether in respect of a particular
                    party or generally), it will be deemed to be severed to the extent that it is void or to the
                    extent of voidability, invalidity or unenforceability, but the remainder of that provision will
                    remain in full force and effect.
            13.7    Waiver
                    (a)      A party’s failure or delay to exercise a power or right does not operate as a waiver
                             of that power or right.
                    (b)      The exercise of a power or right does not preclude either its exercise in the future
                             or the exercise of any other power or right.
                    (c)      The Majority Investors may exercise the right of waiver in relation to this deed for
                             and on behalf of all Investors.
                    (d)      A waiver by a party is not effective unless it is in writing and signed by the Company
                             and the Majority Investors.
            13.8    No merger
                    Any right or obligation of any party that is expressed to operate or have effect on or after
                    the completion, expiration or termination of this deed for any reason, does not merge on
                    the occurrence of that event but remains in full force and effect.
            13.9    Termination; Release of Collateral.
                    Upon the repayment in full of all Notes or the conversion of the Notes in accordance with
                    the terms set forth therein, this deed shall automatically terminate, and all Security Interests
                    shall terminate and all rights shall revert to the Company. Upon any such termination, the
                    Investors (following receipt of written notice of such termination from the Company) will
                    execute and deliver to the Company at Company’s expense, such documents as the
                    Company shall reasonably request to evidence the termination of the Security Interests.




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            13.10 Entire agreement
                    This deed contains the entire agreement between the parties with respect to its subject
                    matter and supersedes all prior agreements and understandings between the parties in
                    connection with it.
            13.11 Time of the essence
                    Time is of the essence in this deed and no extension or variation of time granted by any
                    party operates as a waiver of this clause 13.11.
            13.12 Taxes and withholdings
                    The Investor understands that Investor shall be exclusively responsible for Investor’s own
                    tax liability that may arise as a result of the transactions contemplated by this deed and/or
                    the Notes. Notwithstanding anything herein to the contrary, the Company shall be entitled
                    to deduct and withhold from any payment payable to the Investor hereunder, such amounts
                    as the Company is required to deduct and withhold with respect to the making of any such
                    payment under any applicable law at the applicable rate for such withholding, unless the
                    Company is provided with a valid tax certificate stating that no withholding, or reduced
                    withholding, of tax is required with respect to such payment or providing any other
                    instructions regarding tax withholding, in a form and substance reasonably acceptable to
                    the Company, no later than five Business Days prior to the applicable date of payment
                    thereof, in which case the taxes shall not be withheld, or shall be withheld at the applicable
                    reduced rate and the balance of the applicable payment, as applicable, not so withheld
                    shall be paid to the Investor.
            13.13 Counterparts
                    This deed may be executed in any number of counterparts (including by way of facsimile)
                    each of which shall be deemed for all purposes to be an original and all such counterparts
                    taken together shall be deemed to constitute one and the same instrument.
            13.14 Confidentiality
                    Each party agrees not to disclose any information relating to another party or its business
                    (which has been provided by any other party or which is otherwise received by a party), this
                    deed or the terms of this deed except:
                    (a)     to any person in connection with an exercise of its rights or obligations imposed
                            under this deed;
                    (b)     to the Authorised Persons of that party on a confidential basis;
                    (c)     with the consent of the party who provided the information (which consent must not
                            be unreasonably withheld);
                    (d)     where the information is in the public domain as at the date of this document
                            (provided that the party can provide written evidence to confirm this was the case)
                            or subsequently becomes in the public domain other than by breach of any
                            obligation of confidentiality binding on any party; or
                    (e)     as required by any law or required or requested by an authority such as a
                            Government Agency, court, tribunal or recognised stock exchange, but if a party is
                            so required or requested to make any disclosure, the relevant party must promptly
                            notify the other party, where practicable and lawful to do so, before the disclosure
                            occurs and must co-operate with the other party regarding the timing and content
                            of such disclosure or any action which the other party may reasonably elect to take
                            to challenge the validity of such requirement.




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            13.15 Public announcements
                    Except to the extent prevented by law and subject to clause 13.14, all investors releases or
                    presentations relating in any way to this deed must be on terms agreed by the Company
                    and the Majority Investors.




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                                           Schedule 1 – Term Sheet

                                                      February 15, 2019


            Overwatch Digital Health, Inc. (the “Company”), a Texas corporation with its principal place of
            business at 17440 Dallas Parkway, Suite 230, Dallas, Texas 75287

            The Investor agrees to subscribe for, and the Company agrees to issue, the following Notes on the
            terms and conditions of the Convertible Note Deed dated February 15, 2019 (the “Deed”) and this
            Term Sheet. The parties agree that this document constitutes a Term Sheet for the purposes of the
            Deed and serves as the Investor’s application for the Note.

              Number of Notes                                  500 (face value of $1,000 USD/Note)

              Aggregate Face Value                             $500,000 USD

              Funding Date                                     February 15, 2019

              Maturity Date                                    November 15, 2019

            Payment is to be made to the following bank account and otherwise in accordance with the Deed:

            Account name: Overwatch Digital Health, Inc.
            Bank: Plains Capital Bank P.O. Box 271, Lubbock, Texas 79408
            BSB:
            Account No.:
            SWIFT code: PLASUS44



             Executed by: Colepin ATF Barrett and Sons
             Trading Co Super Fund



             Authorised Representative

             Clive Barrett
             Name of Authorised Representative


             Executed by: OVERWATCH DIGITAL
             HEALTH, INC.



            Terry Fokas
            Chief Executive Officer




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                                       Schedule 2 – Accession Deed
                                                      February 15, 2019


            To:       Overwatch Digital Health, Inc. (the “Company”)

            From: Colepin ATF Barrett and Sons Trading Co Super Fund, a company registered in
            Australia, of c/o Quantum Partners Level 1, 95-97 Grafton Street Bondi Junction, NSW 2022
            Australia

            Dear Sirs

            1.      We refer to the Convertible Note Deed dated February 15, 2019 (the “Deed”), of which we
                    confirm we have received a copy. This deed will take effect as an Accession Deed for the
                    purposes of the Deed. Unless the context requires, capitalised terms defined in this deed
                    have the meaning given in the Deed.

            2.      Colepin ATF Barrett and Sons Trading Co Super Fund agrees to become an Investor and
                    to be bound by the terms and conditions of the Deed, and the relevant Term Sheet, as an
                    Investor with effect from the date of this deed.

            3.      Colepin ATF Barrett and Sons Trading Co Super Fund’s notice details for the purposes of
                    the Deed and the Register are as follows:

                    Address:         c/o Quantum Partners Level 1, 95-97 Grafton Street Bondi Junction, NSW
                                     2022 Australia
                    Attention:       Mr. Clive Barrett
                    Facsimile:
                    Email:           clive.barrett@fcfg.com.au
            4.      This deed is governed by and construed in accordance with the laws of the United States
                    and the State of Texas without regard to conflicts of laws provisions. The parties submit to
                    the exclusive jurisdiction ofthe state and federal courts in Collin County, Texas and agree
                    to waive all objections to personal jurisdiction, venue and forum non conveniens and any
                    courts which may hear appeals from those courts in respect of any proceedings in
                    connection with this deed.

            Executed as a deed.


             Executed by: Colepin ATF Barrett and Sons
             Trading Co Super Fund



             Authorised Representative

             Clive Barrett
             Name of Authorised Representative




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                                        Schedule 3 – Note Certificate

                                   OVERWATCH DIGITAL HEALTH, INC.

                                                   Note Certificates

                                          Certificate Numbers: 1 – 500



            Head Office/Note Registry: 17440 Dallas Parkway, Suite 230, Dallas, Texas 75287 USA

            This is to certify that Colepin ATF Barrett and Sons Trading Co Super Fund, a company registered
            in Australia, of c/o Quantum Partners Level 1, 95-97 Grafton Street Bondi Junction, NSW 2022
            Australia (Investor) is the registered holder of the Notes specified below which was issued on
            February 15, 2019.

            The Notes confer on the Investor the rights, power and privileges set out in, and is subject to the
            terms and conditions of, the Convertible Note Deed dated February 15, 2019 between the
            Company and the Investor.

             Number of Notes                                   500 (face value of $1,000/Note)

             Aggregate Face Value                              $500,000.00 USD

             Funding Date                                      February 15, 2019

             Maturity Date                                     November 15, 2019



             Executed by OVERWATCH DIGITAL
             HEALTH, INC., a Texas corporation:



             Terry Fokas
             Chief Executive Officer




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            Executed as a deed.

             Executed by OVERWATCH DIGITAL
             HEALTH, INC., a Texas corporation:



             Terry Fokas
             Chief Executive Officer




             Executed by Colepin ATF Barrett and Sons
             Trading Co Super Fund in accordance with
             its constituent documents:



             Director/Company Secretary


             Clive Barrett
             Name of Director/Company Secretary




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                                    Annexure A – Security Agreement

                                     [Provided Under Separate Cover]




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                                     EXHIBIT C


                   Overwatch Unsecured Notes to Mossco Capital, Inc.
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                                     EXHIBIT D


                      Overwatch Unsecured Notes to Gary Snow
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  CONVERTIBLE NOTE DEED




                                                                                 Overwatch Digital Health, Inc.
                                                                                 (“Company”)



                                                                                 Mr. Gary Snow
                                                                                 (“Investor”)




    PHONE (61-8) 6211 5000        FAX (61-8) 6211 5055     ABN 83 662 050 668

  POSTAL ADDRESS             PO Box Z5433, St Georges Tce Perth WA 6831
  ADDRESS                    Level 24 St Martins Tower 44 St Georges Tce
                             Perth WA 6000
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            This convertible promissory note deed is dated March 04, 2019.


            Parties
            Overwatch Digital Health, Inc., a Texas corporation (and including, all of its wholly-owned
            subsidiaries and affiliates, collectively, the “Company”); and

            Mr. Gary Snow residing at 8/36 Penkivil Street Bondi NSW 2026 Australia (“Investor”)



            Background
            A.       The Company has developed an epilepsy management and monitoring system and has
                     signed a binding conditional heads of agreement to undertake a reverse takeover on the
                     ASX (“RTO”) to raise a minimum of $4,000,000 (AUD).
            B.       The Company wishes to raise up to $1,000,000 (USD) prior to the RTO to Eligible Investors
                     in accordance with the terms and conditions of this deed.
            C.       Upon completion of the RTO, the Notes will automatically convert into Shares.
            D.       Each Investor, being an Eligible Investor, agrees to subscribe for a Note on the terms and
                     conditions of this deed.


            Agreed terms
            1       Interpretation
            1.1     Definitions
                    In this deed:
                    (a)      Accession Deed means the accession deed set out in Schedule 2;
                    (b)      Act means the United States Securities Act of 1933, as amended.
                    (c)      ASX means ASX Limited ACN 008 624 691 or the Australian Securities Exchange,
                             as the context requires;
                    (d)      Authorised Persons means, in relation to a party:
                             (i)        the directors, shareholders, limited partners, general partners and their
                                        representatives, and any other person appointed to act as an authorised
                                        officer of that party;
                             (ii)       the employees of that party;
                             (iii)      the legal, financial and other advisers of that party; and
                             (iv)       the respective officers and employees of those legal, financial and other
                                        advisers;
                    (e)      Availability Period means the period of 3 months from the date of this deed, or
                             such longer period determined by the Company;
                    (f)      Business Day means a day other than a Saturday, Sunday or public holiday in
                             Dallas, Texas;




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                    (g)      Certificate of Formation means the Certificate of Formation of the Company (as
                             amended from time to time);
                    (h)      Change in Control means the occurrence of any one or more of the following: (i)
                             the accumulation, whether directly, indirectly, beneficially or of record, by any
                             individual, entity or group of 50% or more of the shares of the outstanding Shares,
                             whether by merger, consolidation, sale or other transfer of Shares (other than a
                             merger or consolidation where the shareholders of the Company prior to the merger
                             or consolidation are the holders of a majority of the voting securities of the entity
                             that survives such merger or consolidation), or (ii) a sale of all or substantially all of
                             the assets of the Company, provided, however, that the following acquisitions shall
                             not constitute a Change of Control for the purposes of this deed: (A) any
                             acquisitions of Shares or securities convertible into Shares directly from the
                             Company, or (B) any acquisition of Shares or securities convertible into Shares by
                             any employee benefit plan (or related trust) sponsored by or maintained by the
                             Company.
                    (i)      Claim includes any claim, demand, proceeding, suit, litigation, investigation, audit,
                             action or cause of action in contract, tort, under statute or otherwise;
                    (j)      Conversion Date means the date on which the Company issues Shares under the
                             Prospectus or immediately prior to a Change in Control;
                    (k)      Conversion Price means a price per Share which converts the Face Value of all
                             the Notes into forty percent equity ownership of the Company, on a fully-diluted
                             basis (the “Conversion Ownership Percentage”), and which is currently anticipated
                             to be $1.50 (USD). For purposes of clarity, the Conversion Ownership Percentage
                             will marginally increase as a result of the conversion of interest that has accrued on
                             the Notes.
                    (l)      Corporations Act means the Australian Corporations Act 2001 (Cth);
                    (m)      Default Event means any of the events or circumstances described in Clause 10.1;
                    (n)      Eligible Investor means a sophisticated or professional investor for the purposes
                             of (a) section 708 of the Corporations Act and (b)Rule 501 under the Act, or any
                             other person to whom securities can be issued without disclosure in accordance
                             with applicable securities laws, who is invited by the Company to subscribe for
                             Notes, including the Investor;
                    (o)      Face Value means $1,000 per each Note;
                    (p)      Force Majeure Event means an act of war (whether declared or not), hostilities,
                             invasion, act of foreign enemies, terrorism or civil disorder in each case affecting on
                             a general basis the business of the Company; (b) a strike or strikes or other
                             industrial action or any other form of civil disturbance (whether lawful or not), in
                             each case affecting on a general basis the business of the Company and the
                             settlement of which is beyond the reasonable control of the Company; (c)
                             earthquake or any other natural disaster of overwhelming proportions; or (d) other
                             unforeseeable circumstances beyond the control of the Company against which it
                             would have been unreasonable to take precautions against and which the Company
                             cannot avoid even by using its best efforts, which in each case directly causes the
                             Company to be unable to comply with all or a material part of its obligations under
                             the Notes, including, without limitation, the redemption of the Notes by the Maturity
                             Date;
                    (q)      Funding Date means, in respect of a Note, the date on which the Face Value of
                             the Note is to be paid by the Investor to the Company, as specified in the Term
                             Sheet;




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                    (r)      Government Agency means any government or government department, any
                             governmental, semi-governmental or judicial authority or person, any statutory body
                             or authority or body exercising any administrative or legislative function;
                    (s)      Interest End Date means a date determined by the Company which falls within the
                             1-month period prior to the Lodgement Date, or in the event that the RTO does not
                             complete, the date immediately preceding the Maturity Date;
                    (t)      Investor means an Eligible Investor who agrees to subscribe for, and to whom the
                             Company agrees to issue, a Note in accordance with clause 2.3;
                    (u)      Listing Rules means the official listing rules of the ASX;
                    (v)      Lodgement Date the date that the Company lodges a prospectus with Australian
                             Securities and Investments Commission for the purposes of the RTO;
                    (w)      Loss means any liability, loss, damage, judgment, cost, charge, expense,
                             diminution in value or deficiency of any kind or character which a party pays, suffers
                             or incurs or is liable for, however arising;
                    (x)      Majority Investors mean Investors holding Notes issued under this deed who
                             represent at least 66.67% of the aggregate Face Value of all Notes.
                    (y)      Maturity Date means the date that is 9 months after the date of this deed unless a
                             Force Majeure Event occurs, in which case the Maturity Date shall be extended per
                             each Force Majeure Event but until 18 months from the date of this deed, or such
                             later date agreed by the parties in writing;
                    (z)      Monies Payable means, in respect of a Note, at any particular time, the amount of
                             the Face Value plus interest accrued in accordance with clause 3.1;
                    (aa)     Note means a convertible note issued by the Company under this deed;
                    (bb)     Note Certificate means a certificate in the form set out in Schedule 3;
                    (cc)     Prospectus means the prospectus to be issued by the Company to raise a
                             minimum of $4,000,000 (AUD) under the RTO;
                    (dd)     Register means a register of holders of Notes established and maintained by the
                             Company under Clause 7;
                    (ee)     RTO means the reverse takeover onto the ASX to be undertaken by the Company;
                    (ff)     Security means any document or transaction which reserves or creates a Security
                             Interest;
                    (gg)     Security Agreement means the security agreement attached at Annexure A;
                    (hh)     Security Interest means any mortgage, pledge, lien, charge, assignment,
                             hypothecation or security interest, or any other agreement or arrangement having
                             a similar commercial or legal effect, and includes an agreement to grant or create
                             any of those agreements or arrangements;
                    (ii)     Share means a fully paid common share par value $0.001 (USD) each, in the
                             capital of the Company;
                    (jj)     Shareholder means a holder of one or more Shares; and
                    (kk)     Term Sheet means a term sheet in the form set out in Schedule 1, and which
                             document must not be inconsistent with the terms and conditions of this deed. To
                             avoid doubt, if the Term Sheet is inconsistent with this deed then this deed prevails
                             to the extent of the inconsistency.




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            1.2     Interpretation
                    In this deed, unless the context otherwise requires:
                    (a)      words importing the singular include the plural and vice versa;
                    (b)      words importing a gender include any gender;
                    (c)      other parts of speech and grammatical forms of a word or phrase defined in this
                             deed have a corresponding meaning;
                    (d)      an expression importing a natural person includes any company, partnership, joint
                             venture, association, corporation or other body corporate and any governmental
                             agency;
                    (e)      if a party comprises two or more persons, the covenants and agreements on their
                             part bind and shall be observed and performed by them jointly and each of them
                             severally and may be enforced against any one or any two or more of them;
                    (f)      a reference to a part, clause, party, annexure, exhibit or schedule is a reference to
                             a part and clause of, and a party, annexure, exhibit and schedule to, this deed and
                             a reference to this deed includes any annexure, exhibit and schedule;
                    (g)      a reference to a statute, regulation, proclamation, ordinance or by-law includes all
                             statutes, regulations, proclamations, ordinances or by-laws amending,
                             consolidating or replacing it, and a reference to a statute includes all regulations,
                             proclamations, ordinances and by-laws issued under that statute;
                    (h)      a reference to a document includes all amendments or supplements to, or
                             replacements or novations of, that document;
                    (i)      a reference to a party to a document includes that party’s successors and permitted
                             assigns;
                    (j)      no provision of this deed will be construed adversely to a party solely on the ground
                             that the party was responsible for the preparation of this deed or that provision;
                    (k)      a reference to an agreement other than this deed includes an undertaking,
                             agreement, agreement or legally enforceable arrangement or understanding
                             whether or not in writing;
                    (l)      a reference to a body, other than a party to this deed (including, without limitation,
                             an institute, association or authority), whether statutory or not:
                             (i)       which ceases to exist; or
                             (ii)      whose powers or functions are transferred to another body,
                             is a reference to the body which replaces it or which substantially succeeds to its
                             powers or functions;
                    (m)      a right includes a benefit, remedy, discretion or power;
                    (n)      includes, including, for example or similar expressions means that expression
                             without limitation;
                    (o)      Unless otherwise stated, ‘$’ or ‘USD’ is a reference to the currency of the United
                             States of America;
                    (p)      a reference to time is to local time in Dallas, Texas;
                    (q)      where the day on or by which any thing is to be done is not a Business Day, that
                             thing must be done on or by the next Business Day; and




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                    (r)      where time is to be calculated by reference to a day or event, that day or the day of
                             the event is included.
            1.3     Headings
                    Headings are for convenience only and do not affect the interpretation of this deed.
            1.4     Executed as a deed
                    This document is executed as a deed for the purposes of the law.


            2       Issue of Notes
            2.1     Issue of Notes
                    During the Availability Period, the Company may issue Notes to Eligible Investors in
                    accordance with the terms and conditions of this deed.
            2.2     Maximum amount to be raised
                    The minimum aggregate of the Face Value of all Notes issued under this deed shall be
                    $500,000 and the maximum shall be $1,000,000.
            2.3     Agreement to subscribe
                    (a)      The Investor agrees to subscribe for, and the Company agrees to issue, the Notes
                             specified in the Term Sheet signed by the Company and the Investor on or about
                             the date of this deed.
                    (b)      During the Availability Period, If an Eligible Investor other than the Investor agrees
                             to subscribe for a Note, and the Company agrees to issue the Note, then:
                             (i)       the Eligible Investor and the Company must enter into a Term Sheet which
                                       specifies:
                                       (A)     the Face Value;
                                       (B)     the Funding Date; and
                                       (C)     the Maturity Date; and
                             (ii)      the Eligible Investor must enter into an Accession Deed under which it
                                       agrees to be bound by this deed as if named as a party; and.
                             (iii)     The Investor fills out and submits to the Company an accredited investor
                                       questionnaire which complies with Israeli law.
            2.4     Payment and issue
                    (a)      Subject to clause 2.3, the Investor must pay to the Company an amount equal to
                             the Face Value of the Note on the Funding Date in accordance with the Term Sheet.
                    (b)      Within 2 Business Days of receiving the Face Value in accordance with clause
                             2.4(a), the Company must:
                             (i)       issue to the Investor the Note specified in the Term Sheet by registering the
                                       Investor as the holder of the Note in the Company Register; and
                             (ii)      provide to the Investor the Note Certificate in respect of the Note issued.




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            3       Notes
            3.1     Interest
                    (a)      Each Note will accrue interest at the rate of 8% per annum on the Face Value.
                             Interest shall be calculated on the basis of a 365-day year for the actual number of
                             days elapsed from the applicable Funding Date until the Interest End Date.
                    (b)      Accrued interest will form part of the Monies Payable in respect of a Note and will
                             be repayable by the Company in cash (if clause applies 3.2) or Shares (if clause 4
                             applies).
            3.2     Repayment in cash
                    If the Company has not completed the RTO by the Maturity Date, the Company must
                    redeem each Note within 15 Business Days of the Maturity Date by paying the Monies
                    Payable to the Investor.
            3.3     Quotation
                    A Note will not be quoted or listed on any stock exchange.
            3.4     Security
                    The Notes shall be secured on the in accordance with Clause 5 of this deed.
            3.5     Voting rights
                    A Note will not provide any voting rights at Shareholder meetings of the Company or other
                    rights as a shareholder of the Company. In the absence of conversion of this Note, no
                    provisions of this Note, and no enumeration herein of the rights or privileges of Holder with
                    respect to this Note, shall itself cause Holder to be a shareholder of the Company for any
                    purpose.
            3.6     Transferability
                    A Note is freely transferable subject to the Investor lodging with the Company:
                    (a)      a proper instrument of transfer, duly stamped if necessary, executed by the
                             transferor and by the transferee, together with the original Note Certificate for the
                             Note to which the transfer relates; and
                    (b)      an Accession Deed executed by the transferee.
            3.7     Re-issue
                    A Note that is converted or redeemed in accordance with this deed will automatically be
                    cancelled and is not available for re-issue.


            4       Conversion
            4.1     Conversion into Shares
                    Each Note (in whole) will automatically convert into Shares on the Conversion Date.
            4.2     Conversion option
                    In the event of a Change in Control transaction, each Investor shall have the option
                    immediately prior to the closing of such transaction to either: (a) convert each Note into
                    Shares; or (b) redeem each Note for the Face Value plus accrued and unpaid Interest. The
                    Company shall give each Investor not less than 20-days prior notice of a Change in Control
                    transaction.




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            4.3      Optional conversion
                     In the event the Company consummates, while this Note remains outstanding, an equity
                     financing pursuant to which it sells Shares in a transaction which results in total proceeds
                     to the Company of not less than $1,000,000 (USD) (excluding conversion of the Notes) and
                     which does not constitute an RTO, then the Investors shall have the option at such time to
                     convert their Notes on the same terms set forth in Clause 4.4.

            4.4     Conversion entitlements
                    On the Conversion Date, the Investor will be entitled to, and the Company must allot and
                    issue to the Investor, Shares based on the following formula:
                                                             S = MP / CP
                     Where:
                     S is the number of Shares to be issued to the Investor;
                     MP is the Monies Payable in respect of the Note at the Conversion Date; and
                     CP is the Conversion Price.
            4.5     Issue of Shares
                    On the Conversion Date, the Company must allot and issue to the Investor the full number of
                    Shares required to be issued in accordance with Clause 4.2 (rounded up if applicable). As
                    soon as reasonably practicable thereafter, the Company must provide to the Investor a
                    holding statement in respect of the Shares issued to the Investor.
                    Upon conversion of a Note in accordance with this Clause 4, the Investor is taken to have
                    agreed to:
                    (a)       subscribe for the Shares that are to be issued upon conversion of the Note;
                    (b)       become a Shareholder;
                    (c)       have its name entered in the Company’s register of Shareholders; and
                    (d)       be bound by the Certificate of Formation.
            4.6     Terms of Shares
                    Shares issued upon the conversion of a Note will rank equally in all respects with existing
                    Shares on issue.
            4.7     Compliance with law
                    Despite any other provision of this deed, if an issue of Shares under this deed would
                    contravene the Act, Corporations Act or any other applicable laws then, to the extent such
                    issue would contravene such law, the Company’s obligation to issue the relevant securities
                    will be deferred until such time or times as the issue of Shares would not contravene the
                    relevant law.
            4.8     ASX escrow
                    The parties acknowledge that ASX may require any or all of the Shares issued under this
                    deed to be escrowed for a certain period of time pursuant to the Listing Rules, or otherwise
                    as determined by the ASX. The parties agree to enter into, or procure entry into, any
                    agreements necessary to give effect to any escrow imposed by ASX.




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            5       Security
                    (a)      The Notes shall be secured by the grant of a Security Interest over all of the present
                             and future assets of the Company, including its intellectual property, in favour of the
                             Investors in accordance with the Security Agreement.
                    (b)      Contemporaneously with the execution of this deed, the parties must execute the
                             Security Agreement and, as soon as reasonably practicable, do all things necessary
                             to register and perfect the Security Interest created under the Security Agreement.


            6       Indebtedness
            6.1     Acknowledgment of indebtedness
                    The Company acknowledges that, on and from the Funding Date of a Note, and at all times
                    before the repayment of the Note in accordance with Clause 3.2 or the conversion of the
                    Note in accordance with Clause 4, it will be indebted to the Investors in the amount of
                    Monies Payable by all investors.
            6.2     Satisfaction of obligations
                    The repayment of a Note in accordance with Clause 3.2 or the conversion of a Note in
                    accordance with Clause 4, operates in full satisfaction of the Company’s obligations to the
                    Investor with respect to the Note, and the obligations of the Company with respect to the
                    Note will be extinguished and the Note will be deemed to be cancelled.


            7       Register
            7.1     Establishment and maintenance
                    The Company must establish and maintain a register of the Notes issued by the Company
                    under this deed.
            7.2     Holder details
                    The Company must include the following information in the Register in respect of the issued
                    Notes:
                    (a)      the name and address of each holder;
                    (b)      the certificate number of Notes held by each holder and their aggregate Face Value;
                             and
                    (c)      details of all transfers, repayments, redemption and conversion of the Notes.


            8       Company warranties and undertakings
            8.1     Company warranties
                    The Company represents and warrants to the Investor:
                    (a)      (status) it is a corporation with limited liability and is properly incorporated and
                             validly existing under the laws of the place of its incorporation;
                    (b)      (shares) that it has one class of common shares.
                    (c)      (capacity) it has full legal capacity and power to own its assets and to carry on its
                             business as it is presently being conducted and to enter into and perform the
                             transactions contemplated by this deed;




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                    (d)      (authority) it has taken all corporate and other action necessary to authorise the
                             execution and performance of this deed so that it is fully valid and binding on and
                             enforceable against it, except as limited by bankruptcy, insolvency or other laws of
                             general application relating to or affecting the enforcement of creditors’ rights
                             generally and general principles of equity;
                    (e)      (authorisations) all authorisations, approvals, permits, consents, filings and
                             registrations necessary or advisable for or in connection with this deed have been
                             obtained and are in full force and effect; and
                    (f)      (no litigation) no litigation or arbitration, administrative proceedings or other
                             procedure for the resolution of disputes is currently taking place, pending or, to its
                             knowledge threatened against it or its assets, revenues or business or which may
                             have a material adverse effect on it.
            8.2     Company undertakings
                    So long as the Notes are not converted or paid, the Company undertakes to the Investor:
                    (a)      (maintain status) to maintain its status as a company limited by shares
                             incorporated under the laws of the place of its incorporation and not to transfer nor
                             permit the transfer of its jurisdiction of incorporation;
                    (b)      (comply with applicable laws) to ensure that the Company complies with all
                             applicable laws related to its business (including without limitation all listing rules
                             and requirements of ASX);
                    (c)      (authorisations) to obtain, maintain and comply with any authorisations which the
                             Company requires to carry out the transactions contemplated in, and to ensure the
                             validity, enforceability and admissibility in evidence of, this deed in all relevant
                             jurisdictions;
                    (d)      (notice of litigation) to give the Investor prompt notice of any litigation, arbitration
                             or administrative proceedings whatsoever which the Company would reasonably
                             deems to be expected to have a material adverse effect to the business of the
                             Company;
                    (e)      (inspection of records) upon notice of not less than five business days, to permit
                             and cause to be permitted during normal business hours, the Majority Investors,
                             persons authorised by the Investor and any employee, agent or consultant of the
                             Majority Investors to examine and take copies of the books of account and all other
                             documents relating to the business or activities of the Company, whether in the
                             possession or under the control of the Company; provided, however, that such
                             information shall be subject to the confidentiality designations provided in this deed
                             and provided further that such examination shall be made not more than 1 time in
                             each calendar quarter; Such right shall expire upon conversion of the deed to
                             Shares.
                    (f)      (notice of incorrect warranty) to notify the Investor promptly if any representation
                             or warranty made in this deed or undertaking taken to be made by or on behalf of
                             the Company in connection with this deed or a Note is found to be materially
                             incorrect or materially misleading when made or taken to be made and would
                             reasonably deems to be expected to have a material adverse effect to the business
                             of the Company;
                    (g)      (default certificate) on the written request of the Investor, to promptly provide the
                             Investor with a certificate signed by an officer of the Company which states in writing
                             whether a Default Event or event which with the giving of notice, lapse of time or
                             fulfilment of any condition would become a Default Event continues unremedied
                             and is not waived; and



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                    (h)      (board member) to reserve one seat on the Company’s board of directors for a
                             director to be nominated by the Majority Investors.
                    (i)      (intellectual property) the Company owns or possesses sufficient legal rights to all
                             of the intellectual property necessary or required to conduct its business as now
                             conducted and as presently proposed to be conducted. Each current and former
                             employee and consultant of the Company has assigned to the Company all
                             intellectual property rights he or she owns that are related to the Company’s
                             business as now conducted and as presently proposed to be conducted.
                    (j)      (employee and consultant agreements) each current and former employee and
                             consultant of the Company has executed an agreement with the Company
                             containing confidentiality, non-disclosure of the Company’s proprietary information,
                             inventions assignment, non-solicitation and non-compete provisions. No current or
                             former employee, consultant or officer has excluded works or inventions from his or
                             her inventions assignment obligations to the Company.
            8.3     Reliance
                    The Company acknowledges that the Investor has entered into this deed in reliance on the
                    representations and warranties given by the Company in this deed.
            8.4     Disclosure
                    The Investor acknowledges that the Company is not liable in respect of any Loss or Claim
                    to the extent that the matter giving rise to the Loss or Claim was disclosed:
                    (a)      by the Company to the Investor in writing prior to the date of this deed; or
                    (b)      in public records dated prior to the date of this deed including searches of public
                             registers.


            9       Investor warranties
            9.1     Investor warranties
                    The Investor represents and warrants to the Company:
                    (a)      (status) if the Investor is a Company, it is a corporation with limited liability and is
                             properly incorporated and validly existing under the laws of its country of
                             registration;
                    (b)      (capacity) it has full legal capacity and power to own its assets and to carry on its
                             business as it is presently being conducted and to enter into and perform the
                             transactions contemplated by this deed;
                    (c)      (authority) if the Investor is a Company, it has taken all corporate and other action
                             necessary to authorise the execution and performance of this deed so that it is fully
                             valid and binding on and enforceable against it, except as limited by bankruptcy,
                             insolvency or other laws of general application relating to or affecting the
                             enforcement of creditors’ rights generally and general principles of equity;
                    (d)      (authorisations) all authorisations, approvals, permits, consents, filings and
                             registrations necessary or advisable for or in connection with this deed have been
                             obtained and are in full force and effect; and
                    (e)      (exempt investor) on the date of this deed, and on each date securities are issued
                             under this deed, the Investor is eligible to receive an offer of, and issue of, securities
                             under this deed in accordance with all applicable securities laws, and there is no
                             requirement for a prospectus or any other form of disclosure document to be lodged




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                             or registered with any Government Agency for the purposes of the Company
                             offering or issuing securities to the Investor under this deed.
                    (f)      The Investor has such knowledge and experience in financial and business matters
                             that the Investor is capable of evaluating the merits and risks of such investment, is
                             able to incur a complete loss of such investment without impairing the Investor’s
                             financial condition and is able to bear the economic risk of such investment for an
                             indefinite period of time. The Investor’s principal place of business is correctly set
                             forth beneath the Investor’s name on the signature pages hereto.
            9.2     Reliance
                    The Investor acknowledges that the Company has entered into this deed in reliance on the
                    representations and warranties given by the Investor in this deed.


            10      Default Events
            10.1    Default Events
                    Each of the following is a Default Event:
                    (a)      (other obligations) the Company fails to comply with any provision of this deed
                             which failure, if capable of remedy, is not remedied within 10 Business Days from
                             the Company’s receipt of notice from the Majority Investors ;
                    (b)      (misrepresentation) any representation, warranty or statement made or repeated
                             in or in connection with this deed is untrue or misleading (whether by omission or
                             otherwise) when so made or repeated or becomes untrue or misleading when taken
                             as a whole and which has a material adverse effect on the Company's business;
                    (c)      (involuntary winding up) an application or order is made for the winding up of the
                             Company or for the appointment of a liquidator and such appointment was not
                             dismissed within 45 Business Days;
                    (d)      (voluntary winding up) the Company passes a resolution for its winding up;
                    (e)      (receiver) a receiver, controller or analogous person is appointed to take
                             possession of all, or any part of, the assets of the Company or a Subsidiary of the
                             Company and such appointment was not dismissed within 30 Business Days;
                    (f)      (insolvency) the Company:
                             (i)       an involuntary Insolvency proceeding is begun against the Company and
                                       not dismissed or stayed within forty-five (45) Business Days; or
                             (ii)      the Company (i) is, or is deemed for the purposes of any law to be, unable
                                       to pay its debts as they fall due, or insolvent; (ii) admits its inability to pay its
                                       debts as they fall due;
                    (g)      (compromise or arrangement) the Company takes any step for the purpose of
                             entering into a compromise or arrangement with any of its members or creditors
                             except for the purpose of a reconstruction, amalgamation, merger or consolidation
                             on terms approved by the Majority Investors;
                    (h)      (failure to comply with waiver) if any Default Event (or occurrence which would
                             otherwise have been or become a Default Event) is conditionally waived by the
                             Majority Investors and the Company does not comply with those conditions or those
                             conditions are not fulfilled (whether by the Company or any other person) or are or
                             become incapable of fulfilment and such non-compliance is not remedied within 10
                             Business Days from the Majority Investors written notice to the Company.




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            10.2    Power on default
                    If a Default Event occurs, the Majority Investors may, at any time during which the Default
                    Event remains unremedied, by written notice to the Company, declare all Monies Payable
                    to be immediately due and payable to the Investors, and the Company must immediately
                    pay such Monies Payable to the Investors.


            11      Payments
            11.1    Method of payment
                    All payments in connection with this deed must be made:
                    (a)      by unendorsed bank cheque payable to the party to whom the payment is due, or
                             to any other person nominated in writing by the party to whom the payment is due,
                             no later than 3.00pm on the due date for payment;
                    (b)      by way of direct transfer of immediately available funds to an account nominated in
                             writing by the party to whom the payment is due no later than 3.00pm on the due
                             date for payment; or
                    (c)      in such other form of immediately available funds or cleared funds as may be
                             agreed in writing between the parties.
            11.2    Right of set off
                    If any amount is payable by the Investor to the Company under this deed, the Company is
                    entitled to set off that amount against any amount payable by the Company to the Investor
                    under this deed.


            12      Notices
            12.1    Notices in writing
                    A notice or other communication connected with or provided under this deed does not have
                    any legal effect unless it is in writing and in the English language.
            12.2    Method of service
                    In addition to any other method of service provided by law, the notice may be:
                    (a)      delivered by hand at the address of the addressee party set out in this deed or
                             subsequently notified;
                    (b)      sent by prepaid post to the address of the addressee party set out in this deed or
                             subsequently notified;
                    (c)      sent by facsimile to the facsimile number of the addressee party at the
                             commencement of this deed or such other number as may be notified; or
                    (d)      by electronic communication including email.
            12.3    Addresses for service
                    (a)      The authorised address of each party for service of notices is the address set
                             opposite its name below, or such other address as the party may from time to time
                             advise by notice to the other parties:
                                     Overwatch Digital Health, Inc.17440 N Dallas Parkway, Suite 230
                                     Dallas, Texas 75287
                                     United States of America




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                                       Attention:        Terry Fokas
                                                         Chief Executive Officer
                                       Facsimile:        N/A
                                       Email:            terryfokas_esq@yahoo.com


                             (i)       As listed in Schedule 2
                    (b)      Despite clause 12.3(a), a party may also serve a notice to another party at any of
                             the following addresses:
                             (i)       for a party that is an individual, that party’s principal place of residence; or
                             (ii)      for a party that is a corporation:
                                       (A)      that party’s registered office; or
                                       (B)      that party’s principal place of business.
            12.4    Deemed receipt
                    If a notice is sent or delivered in a manner provided by clause 12.2, it must be treated as
                    given to and received by the addressee party if delivered or transmitted before 5.00pm on
                    a Business Day in the place of receipt:
                    (a)      if delivered by hand, on the date of delivery;
                    (b)      if sent by post, on the second Business Day (at the address to which it is posted)
                             after posting unless returned to the sender party;
                    (c)      if delivered by facsimile, upon the date of transmission provided that a transmission
                             confirmation is generated by the sender party; or
                    (d)      if delivered by electronic communication, upon the date of transmission provided
                             that a delivery receipt is obtained by the addressee party.
            12.5    Facsimile transmission
                    A facsimile transmission is legible unless the addressee party telephones the sender party:
                    (a)      if during the hours of 9.00am and 5.00pm on a Business Day in the place of the
                             addressee party, within 2 hours after transmission is received; or
                    (b)      if outside the hours specified in clause 12.5(a), by 11.00am on the next Business
                             Day,
                    informing the sender party that it is not legible.


            13      Costs

                    The Company will bear all costs (including legal costs), of and incidental to the preparation,
                    negotiation and execution of this deed. l
            13.1    Governing law and jurisdiction
                     (a)     This deed is governed by and construed in accordance with the laws of the United
                             States and the State of Texas without regard to conflicts of laws provision.




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            13.2     The parties consent to the exclusive jurisdiction and venue of the state and federal courts
                    in Collin County, Texas and agree to waive all objections to personal jurisdiction, venue
                    and forum non conveniens.
                    (a)
            13.3    Assignment
                    Subject to Clause 3.6, a party must not assign or deal with any right under this deed without
                    the prior written consent of the other parties. Any purported dealing in breach of this Clause
                    13.3 is of no effect.
            13.4    Variation
                    An amendment or variation to this deed is not effective unless it is in writing and signed by
                    the Company and the Majority Investors
            13.5    Further assurances
                    Each party must sign, execute and do all deeds, acts, documents and things as may
                    reasonably be required by the other party to effectively carry out and give effect to the terms
                    and intentions of this deed.
            13.6    Severance
                    If any provision or part of a provision of this deed is held or found by a court of competent
                    jurisdiction to be void, invalid or otherwise unenforceable (whether in respect of a particular
                    party or generally), it will be deemed to be severed to the extent that it is void or to the
                    extent of voidability, invalidity or unenforceability, but the remainder of that provision will
                    remain in full force and effect.
            13.7    Waiver
                     (a)     A party’s failure or delay to exercise a power or right does not operate as a waiver
                             of that power or right.
                     (b)     The exercise of a power or right does not preclude either its exercise in the future
                             or the exercise of any other power or right.
                     (c)     The Majority Investors may exercise the right of waiver in relation to this deed for
                             and on behalf of all Investors.
                     (d)     A waiver by a party is not effective unless it is in writing and signed by the Company
                             and the Majority Investors.
            13.8    No merger
                    Any right or obligation of any party that is expressed to operate or have effect on or after
                    the completion, expiration or termination of this deed for any reason, does not merge on
                    the occurrence of that event but remains in full force and effect.
            13.9    Termination; Release of Collateral.
                    Upon the repayment in full of all Notes or the conversion of the Notes in accordance with
                    the terms set forth therein, this deed shall automatically terminate, and all Security Interests
                    shall terminate and all rights shall revert to the Company. Upon any such termination, the
                    Investors (following receipt of written notice of such termination from the Company) will
                    execute and deliver to the Company at Company’s expense, such documents as the
                    Company shall reasonably request to evidence the termination of the Security Interests.




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            13.10 Entire agreement
                    This deed contains the entire agreement between the parties with respect to its subject
                    matter and supersedes all prior agreements and understandings between the parties in
                    connection with it.
            13.11 Time of the essence
                    Time is of the essence in this deed and no extension or variation of time granted by any
                    party operates as a waiver of this clause 13.11.
            13.12 Taxes and withholdings
                    The Investor understands that Investor shall be exclusively responsible for Investor’s own
                    tax liability that may arise as a result of the transactions contemplated by this deed and/or
                    the Notes. Notwithstanding anything herein to the contrary, the Company shall be entitled
                    to deduct and withhold from any payment payable to the Investor hereunder, such amounts
                    as the Company is required to deduct and withhold with respect to the making of any such
                    payment under any applicable law at the applicable rate for such withholding, unless the
                    Company is provided with a valid tax certificate stating that no withholding, or reduced
                    withholding, of tax is required with respect to such payment or providing any other
                    instructions regarding tax withholding, in a form and substance reasonably acceptable to
                    the Company, no later than five Business Days prior to the applicable date of payment
                    thereof, in which case the taxes shall not be withheld, or shall be withheld at the applicable
                    reduced rate and the balance of the applicable payment, as applicable, not so withheld
                    shall be paid to the Investor.
            13.13 Counterparts
                    This deed may be executed in any number of counterparts (including by way of facsimile)
                    each of which shall be deemed for all purposes to be an original and all such counterparts
                    taken together shall be deemed to constitute one and the same instrument.
            13.14 Confidentiality
                    Each party agrees not to disclose any information relating to another party or its business
                    (which has been provided by any other party or which is otherwise received by a party), this
                    deed or the terms of this deed except:
                    (a)      to any person in connection with an exercise of its rights or obligations imposed
                             under this deed;
                    (b)      to the Authorised Persons of that party on a confidential basis;
                    (c)      with the consent of the party who provided the information (which consent must not
                             be unreasonably withheld);
                    (d)      where the information is in the public domain as at the date of this document
                             (provided that the party can provide written evidence to confirm this was the case)
                             or subsequently becomes in the public domain other than by breach of any
                             obligation of confidentiality binding on any party; or
                    (e)      as required by any law or required or requested by an authority such as a
                             Government Agency, court, tribunal or recognised stock exchange, but if a party is
                             so required or requested to make any disclosure, the relevant party must promptly
                             notify the other party, where practicable and lawful to do so, before the disclosure
                             occurs and must co-operate with the other party regarding the timing and content
                             of such disclosure or any action which the other party may reasonably elect to take
                             to challenge the validity of such requirement.




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            13.15 Public announcements
                    Except to the extent prevented by law and subject to clause 13.14, all investors releases or
                    presentations relating in any way to this deed must be on terms agreed by the Company
                    and the Majority Investors.




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                                            Schedule 1 – Term Sheet

                                                         March 04, 2019


            Overwatch Digital Health, Inc. (the “Company”), a Texas corporation with its principal place of
            business at 17440 Dallas Parkway, Suite 230, Dallas, Texas 75287

            The Investor agrees to subscribe for, and the Company agrees to issue, the following Notes on the
            terms and conditions of the Convertible Note Deed dated March 04, 2019 (the “Deed”) and this
            Term Sheet. The parties agree that this document constitutes a Term Sheet for the purposes of the
            Deed and serves as the Investor’s application for the Note.

               Number of Notes                                   50 (face value of $1,000 USD/Note)

               Aggregate Face Value                              $50,000 USD

               Funding Date                                      March 04, 2019

               Maturity Date                                     November 28, 2019

            Payment is to be made to the following bank account and otherwise in accordance with the Deed:

            Account name: Overwatch Digital Health, Inc.
            Bank: Plains Capital Bank P.O. Box 271, Lubbock, Texas 79408
            BSB:
            Account No.:
            SWIFT code: PLASUS44



             Executed by: Mr. Gary Snow



             Authorised Representative

             Gary Snow
             Name of Authorised Representative


             Executed by: OVERWATCH DIGITAL
             HEALTH, INC.



            Terry Fokas
            Chief Executive Officer




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                                        Schedule 2 – Accession Deed
                                                         March 04, 2019


            To:       Overwatch Digital Health, Inc. (the “Company”)

            From: Mr. Gary Snow residing at 8/36 Penkivil Street Bondi NSW 2026 Australia (the
            “Investor”)


            Dear Sirs

            1.      We refer to the Convertible Note Deed dated March 04, 2019 (the “Deed”), of which we
                    confirm we have received a copy. This deed will take effect as an Accession Deed for the
                    purposes of the Deed. Unless the context requires, capitalised terms defined in this deed
                    have the meaning given in the Deed.

            2.      Mr. Gary Snow agrees to become an Investor and to be bound by the terms and conditions
                    of the Deed, and the relevant Term Sheet, as an Investor with effect from the date of this
                    deed.

            3.      Mr. Gary Snow’s notice details for the purposes of the Deed and the Register are as follows:

                    Address:         8/36 Penkivil Street Bondi NSW 2026 Australia
                    Attention:       Mr. Gary Snow
                    Facsimile:
                    Email:           garysnow52@gmail.com
            4.      This deed is governed by and construed in accordance with the laws of the United States
                    and the State of Texas without regard to conflicts of laws provisions. The parties submit to
                    the exclusive jurisdiction ofthe state and federal courts in Collin County, Texas and agree
                    to waive all objections to personal jurisdiction, venue and forum non conveniens and any
                    courts which may hear appeals from those courts in respect of any proceedings in
                    connection with this deed.

            Executed as a deed.


             Executed by: Mr. Gary Snow



             Authorised Representative

             Gary Snow
             Name of Authorised Representative




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                                         Schedule 3 – Note Certificate

                                    OVERWATCH DIGITAL HEALTH, INC.

                                                    Note Certificates

                                         Certificate Numbers: 668 – 718



            Head Office/Note Registry: 17440 Dallas Parkway, Suite 230, Dallas, Texas 75287 USA

            This is to certify that Mr. Gary Snow, an individual residing at 8/36 Penkivil Street Bondi NSW
            2026 Australia is the registered holder of the Notes specified below which was issued on March
            04, 2019.

            The Notes confer on the Investor the rights, power and privileges set out in, and is subject to the
            terms and conditions of, the Convertible Note Deed dated March 04, 2019 between the Company
            and the Investor.

             Number of Notes                                   50 (face value of $1,000/Note)

             Aggregate Face Value                              $50,000.00 USD

             Funding Date                                      March 04, 2019

             Maturity Date                                     November 28, 2019



             Executed by OVERWATCH DIGITAL
             HEALTH, INC., a Texas corporation:




            Terry Fokas
            Chief Executive Officer




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            Executed as a deed.

             Executed by OVERWATCH DIGITAL
             HEALTH, INC., a Texas corporation:



            Terry Fokas
            Chief Executive Officer


             Executed by Mr. Gary Snow:




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                                     Annexure A – Security Agreement

                                     [Provided Under Separate Cover]




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                                         EXHIBIT E


  Overwatch 2019 Audited Financials Describing Obligations to Petitioning Creditors in Note 6
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                          Overwatch Digital Health, Inc.

                      CONSOLIDATED FINANCIAL STATEMENTS
                                  DECEMBER 31, 2019
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                                    Overwatch Digital Health, Inc.
                                  CONSOLIDATED FINANCIAL STATEMENTS

                                                 DECEMBER 31, 2019




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                                INDEPENDENT AUDITORS’ REPORT


To the Shareholder of Overwatch Digital Health, Inc.

Opinion

We have audited the consolidated financial statements of Overwatch Digital Health, Inc. and its subsidiary
(the “Company”), which comprise the consolidated statement of financial position as of December 31, 2019,
and the consolidated statements of profit and loss, changes in equity (deficit) and cash flows for the period
from January 7, 2019 (inception) through December 31, 2019, and notes to the consolidated financial
statements, including a summary of significant accounting policies.

In our opinion, the accompanying consolidated financial statements present fairly, in all material respects,
the consolidated financial position of the Company as of December 31, 2019, and its financial performance
and its cash flows for the period then ended in accordance with International Financial Reporting Standards
(“IFRS”).

Basis for Opinion

We conducted our audit in accordance with International Standards on Auditing (“ISAs”). Our
responsibilities under those standards are further described in the Auditor’s Responsibilities for the Audit
of the Financial Statements section of our report. We are independent of the Company in accordance with
the ethical requirements of the International Ethics Standards Board for Accountants’ Code of Ethics for
Professional Accountants, and we have fulfilled our other ethical responsibilities in accordance with these
requirements. We believe that the audit evidence we have obtained is sufficient and appropriate to provide
a basis for our opinion.

Material Uncertainty Related to Going Concern

We draw attention to Note 2 of the consolidated financial statements, which indicates that the Company
incurred a net loss of $1,772,520 during the period ended December 31, 2019 and, as of that date, the
Company’s current liabilities exceeded its total assets by $1,907,845. As stated in Note 2, these events or
conditions, along with other matters as set forth in Note 2, indicate that a material uncertainty exists that
may cast significant doubt on the Company’s ability to continue as a going concern. Our opinion is not
modified in respect of this matter.

Responsibilities of Management and Those Charged with Governance for the Consolidated
Financial Statements

Management is responsible for the preparation and fair presentation of the consolidated financial
statements in accordance with IFRS and for such internal control as management determines is necessary
to enable the preparation of financial statements that are free from material misstatement, whether due to
fraud or error.

In preparing the consolidated financial statements, management is responsible for assessing the Company’s
ability to continue as a going concern and using the going concern basis of accounting unless management
either intends to liquidate the Company or to cease operations, or has no realistic alternative but to do so.

Those charged with governance are responsible for overseeing the Company’s financial reporting process.




     p 714 380 6565 f 714 380 6566   535 Anton Blvd Suite 1050 Costa Mesa CA 92626 kmjpartnerscpa.com
     p 818 999 5885 f 818 704 4668   20720 Ventura Blvd Suite 160 Woodland Hills CA 91364
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Auditor’s Responsibilities for the Audit of the Consolidated Financial Statements

Our objectives are to obtain reasonable assurance about whether the consolidated financial statements as
a whole are free from material misstatement, whether due to fraud or error, and to issue an auditors’ report
that includes our opinion. Reasonable assurance is a high level of assurance, but is not a guarantee that an
audit conducted in accordance with ISAs will always detect a material misstatement when it exists.
Misstatements can arise from fraud or error and are considered material if, individually or in the aggregate,
they could reasonably be expected to influence the economic decisions of users taken on the basis of these
consolidated financial statements.




                                                                   KMJ Corbin & Company LLP

Costa Mesa, California
February 6, 2020
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                                 Overwatch Digital Health, Inc.
                         CONSOLIDATED STATEMENT OF FINANCIAL POSITION

                                                                                      December 31,
                                                                                          2019
                                                                               Note   U.S. Dollars
                                   A s s e t s
CURRENT ASSETS:
  Cash and cash equivalents                                                            $         45,411

T O T A L CURRENT ASSETS                                                                         45,411
NON CURRENT ASSETS:
  Property and equipment, net                                                   3                 2,313
  Note receivable                                                               4               251,219
T O T A L ASSETS                                                                       $       298,943

                      Liabilities and equity (deficit)
CURRENT LIABILITIES:
  Trade payables                                                                       $         64,311
  Other accounts payable                                                        5                 61,110
  Notes payable, including interest accrued                                     6             1,827,835
T O T A L CURRENT LIABILITIES                                                                 1,953,256

STOCKHOLDER’S EQUITY (DEFICIT):
  Issued capital                                                                 7                   1
  Other equity                                                                   7             118,206
  Accumulated losses                                                                       (1,772,520)
T O T A L EQUITY (DEFICIT)                                                                 (1,654,313)
T O T A L LIABILITIES AND EQUITY (DEFICIT)                                             $       298,943


       Date of approval of financial statements February 6, 2020.



                              Chairman                              Director

    The accompanying notes are an integral part of these consolidated financial statements.




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                                Overwatch Digital Health, Inc.
                         CONSOLIDATED STATEMENT OF PROFIT AND LOSS


                                                                    For the
                                                                    period
                                                                   January
                                                                  7(*), 2019
                                                                   through
                                                                  December
                                                                   31, 2019
                                                        Note
                                                                 U.S. Dollars
      OPERATING EXPENSES:
         Research and development                         8      $     352,155
         Sales and marketing                              9            220,859
         General and administrative                      10            657,527
      OPERATING LOSS                                                  1,230,541
      FINANCIAL EXPENSES, net                            11            203,118
      OTHER LOSS                                         12            338,861
      NET LOSS BEFORE INCOME TAXES                                    1,772,520
      TAX ON INCOME                                                            -
      NET LOSS FOR THE YEAR                                      $    1,772,520



(*) Incorporation date


   The accompanying notes are an integral part of these consolidated financial statements.




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                                                            Overwatch Digital Health, Inc.
                                                    CONSOLIDATED STATEMENT OF CHANGES IN EQUITY




                                           Number of            Share                Other           Accumulated               Total
                                            Shares              Capital              Equity             Losses


     Balance as of January 7, 2019(*)            -                  -                   -                  -                    -
     Issuance of common shares                1,000                $1                   -                  -                   $1
     Value of conversion rights
     attributed from convertible notes          -                   -                $107,790              -                 107,790
     Value of warrants attributed
     from promissory notes                      -                   -                 10,416                -                 10,416
     Net loss                                   -                   -                    -            ($1,772,520)         (1,772,520)
     Balance as of December 31, 2019          1,000                $1                $118,206         ($1,772,520)         ($1,654,313)




(*) Incorporation date


                                 The accompanying notes are an integral part of these consolidated financial statements.




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                                Overwatch Digital Health, Inc.
                           CONSOLIDATED STATEMENT OF CASH FLOWS



                                                                        For the
                                                                        period
                                                                       January
                                                                      7(*), 2019
                                                                       through
                                                                      December
                                                                       31, 2019

                                                                      U.S. Dollars

 CASH FLOWS FROM OPERATING ACTIVITIES:
   Loss for the year                                                   $(1,772,520)
   Adjustments to reconcile net loss to net cash used in operating
     activities:
     Depreciation                                                                27
     Other loss                                                            338,861
     Interest on convertible promissory notes and promissory notes          97,952
     Interest on note receivable                                            (1,219)
     Amortization of interest of convertible promissory notes and
     promissory notes associated with equity allocation                    105,089
     Convertible notes received in exchange for consulting services         40,000
   Changes in operating assets and liabilities items:
      Increase in trade payables                                             64,311
      Increase in other accounts payable                                      3,815
   Net cash used in operating activities                                (1,123,684)

 CASH FLOWS FROM INVESTMENT ACTIVITIES:
   Purchase of property and equipment                                       (2,340)
   Payments for intellectual property asset purchase                      (281,565)
   Promissory notes granted                                              (250,000)
   Net cash used in investing activities                                  (533,905)

 CASH FLOWS FROM FINANCING ACTIVITIES:
   Proceeds from issuance of promissory notes and convertible notes      1,703,000
   Net cash provided by financing activities                             1,703,000

 INCREASE IN CASH AND CASH EQUIVALENTS                                       45,411
 BALANCE OF CASH AND CASH EQUIVALENTS AT THE
    BEGINNING OF THE PERIOD                                                        -
 BALANCE OF CASH AND CASH EQUIVALENTS AT THE END
   OF PERIOD                                                               $45,411



 Non-cash financing activity
   Issuance of shares                                                           $1



(*) Incorporation date.



   The accompanying notes are an integral part of these consolidated financial statements.


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                              Overwatch Digital Health, Inc.
                     NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE 1 – GENERAL INFORMATION:

        a. General

           Overwatch Digital Health, Inc. (Hereinafter: the "Company") was originally incorporated in
           Texas as SAE Digital Health, Inc. on 7 January 2019. On 1 February 2019, a certificate of
           amendment was filed with the Texas Secretary of State to change the entity name from SAE
           Digital Health, Inc. to Overwatch Digital Health, Inc.

           The Company develops and markets a proprietary epilepsy monitoring, detecting and alerting
           software application designed to dramatically improve the lives of individuals living with
           epilepsy and their caregivers and to provide seizure event information to doctors so they can
           effectively design epilepsy treatment options for their patients. In addition, the Company’s
           seizure detection application collects and stores seizure event data so that doctors can remotely
           review seizure information in order to adjust patients’ treatment protocols or to design new
           treatment options. The Company’s seizure detection application is slated for consumer release
           between late-February and mid-March 2020 and will be available for download on its website
           and on the Apple App Store.

           The Company holds a fully owned subsidiary (Hereinafter: the "Subsidiary") called Highline
           Innovation Investment Partnership, LLC which was incorporated on January 24, 2019 under
           the laws and regulations of the State of Texas.
           The consolidated financial statements were authorized for issue by the directors on February
           6, 2020. The directors have the power to amend and reissue the consolidated financial
           statements.

NOTE 2 – BASIS OF PREPARATION

        a. Going concern basis of accounting

           The consolidated financial statements have been prepared on a going concern basis, which
           assumes that the Company will be able to meet the mandatory repayment terms of its
           liabilities.

           In making this assessment, management conducted a comprehensive review of the
           consolidated entity’s affairs, including, but not limited to:
           • The consolidated entity’s financial position for the financial year ended 31 December 2019;
           • Significant events and transactions the consolidated entity has entered into since 31
               December 2019;
           • The cash flow forecast for the consolidated entity for the next 12 months; and
           • The continued support of the consolidated entity’s shareholder and lenders.

           Management also considered the impact of maturity during 2020 of the convertible notes and
           promissory notes with a face value of $1,043,000 and $700,000 respectively.

           Unless those convertible notes are converted to shares by the holders prior to maturity, the
           principal and interest outstanding on maturity will be payable in cash by the consolidated
           entity. Management are confident of gaining shareholder and lenders’ support in relation to
           this matter.

           A fundamental component of the ability to continue as a going concern is the consolidated
           entity’s ability raise to additional funding through capital or debt. The Company is in the
           process of entering into an agreement to reverse merge into a publicly traded Australian entity
           and raise AUD $7 million to AUD $10 million.

           As at 31 December 2019 the consolidated entity’s current liabilities exceeded current assets by
           $1,907,845. For the financial period ended 31 December 2019 the consolidated entity incurred



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             loss after income tax of $1,772,520 and net cash outflows from operating activities of
             $1,123,684.
                                 Overwatch Digital Health, Inc.
                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS


NOTE 2 – BASIS OF PREPARATION (continued)

        a. Going concern basis of accounting (continued)


             In making its assessment, management acknowledges that the ability of the consolidated
             entity to continue as a going concern is dependent on the positive cash flows, the continued
             support of shareholder and lenders, the conversion of the notes to shares and the raising of
             additional share capital and/or debt when required in the future.

        b. Compliance with IFRS

             The consolidated financial statements of the Company have been prepared in accordance with
             International Financial Reporting Standards (IFRS) and interpretations issued by the IFRS
             Interpretations Committee (IFRS IC) applicable to companies reporting under IFRS. The
             financial statements comply with IFRS as issued by the International Accounting Standards
             Board (IASB).

        c. Use of judgments and estimates

             In preparing these consolidated financial statements, management has made judgments and
             estimates that affect the application of the Company’s accounting policies and the reported
             amounts of assets, liabilities, income and expenses. Actual results may differ from these
             estimates.

             Estimates and underlying assumptions are reviewed on an ongoing basis. Revisions to
             estimates are recognized prospectively.

             Significant estimates made by the Company include the collectability of the note receivable
             and the estimated fair value of the compound financial instruments.

        d. Historical cost convention

             The consolidared financial statements have been prepared on a historical cost basis, and where
             applicable, financial assets and liabilities at fair value.

        e. Impact of new accounting standards

             The Company has applied the following standard and amendments for the first time for their
             annual reporting period commencing 7 January 2019:
                 • IFRS 16 Leases
             The new Standard introduces three main changes:
                 - Enhanced guidance on identifying whether a contract contains a lease;
                 - A completely new leases accounting model for lessees that require lessees to
                     recognize all leases on balance sheet, except for short-term leases and leases of low
                     value assets; and
                 - Enhanced disclosures.
             Impact: The Company has assessed the impact of the new leasing standard and concluded
             there will be no change to the accounting treatment for short-term leases less than 12 months
             which will continue to be expensed on a straight-line basis.

        f.   Functional and presentation currency

             Items included in the consolidated financial statements of each of the Company’s entities are
             measured using the currency of the primary economic environment in which the entity


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           operates (‘the functional currency’). The consolidated financial statements are presented in
           United States Dollars ($), which is the Company’s functional and presentation currency.




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                      NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE 2 – BASIS OF PREPARATION (contined)

        g. Basis of consolidation

             The consolidated financial statements comprise the financial statements of the Company and
             the subsidiary. In preparing the consolidated financial statements, all intercompany
             transactions, balances and unrealized gains on transactions between entities in the Company
             are eliminated. The subsidiary is consolidated from the date on which control is obtained to
             the date on which control is disposed.

        h. Cash and cash equivalents

             For the purpose of presentation in the consolidated financial statements of cash and cash
             equivalents includes cash on hand.

        i.   Trade payables

             Trade payables are recognized initially at the amount of consideration that is unconditional,
             unless they contain significant financing components when they are recognized at fair value.

        j.   Research and development expenses

             Research and development expenses are charged to the statement of profit and loss for the
             period as incurred.

        k. Compound financial instruments

             Compound financial instruments issued by the Company comprise of the following:
                ▪ Convertible promissory notes issued by the Company denominated in United States
                   Dollars which can be converted to common shares upon the occurrence of an event
                   allowing conversion, as defined within the agreement.
                ▪ Promissory notes and warrants agreement denominated in United States Dollars. The
                   agreement grants the investors warrants to purchase shares of the Company‘s
                   common stock at an exercise price of $1.56. The warrants are exercisable for a term of
                   five years. Each maturity date grants the investor a different ceiling of warrants which
                   can be purchased on that date.

             The liability component of compound financial instruments is initially recognized at the fair
             value of a similar liability that does not have an equity conversion option. The equity
             component is initially recognized at the difference between the fair value of the compound
             financial instrument as a whole and the fair value of the liability component. Any directly
             attributable transaction costs are allocated to the liability and equity components in
             proportion to their initial carrying amounts.

             Subsequent to initial recognition, the liability component of a compound financial instrument
             is measured at amortized cost using the effective interest method. The equity component of a
             compound financial instrument is not remeasured.

             Interest related to the financial liability is recognized in profit and loss. On conversion at
             maturity, the financial liability is reclassified to equity and no gain or loss is recognized.




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                      NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE 2 – BASIS OF PREPARATION (contined)

        l.   Fair value of financial instruments

             The carrying amount of some of the Company's financial instruments, including cash
             equivalents, accounts payable and accrued liabilities approximate their fair value, due to their
             short maturities.

             Loans and borrowings are recognized at their fair value of the consideration received, net of
             transaction costs.

        m. Income tax

             The income tax expense or credit for the period is the tax payable on the current period’s
             taxable income, based on the applicable income tax rate for each jurisdiction, adjusted by
             changes in deferred tax assets and liabilities attributable to temporary differences and to
             unused tax losses.

             The current income tax charge is calculated on the basis of the tax laws enacted or
             substantively enacted at the end of the reporting period in the countries where the Company
             and its subsidiaries and associates operate and generate taxable income. Management
             periodically evaluates positions taken in tax returns with respect to situations in which
             applicable tax regulation is subject to interpretation. It establishes provisions, where
             appropriate, on the basis of amounts expected to be paid to the tax authorities.

             Deferred income tax is provided in full, using the liability method, on temporary differences
             arising between the tax bases of assets and liabilities and their carrying amounts in the
             consolidated financial statements.

             Deferred income tax is determined using tax rates (and laws) that have been enacted or
             substantially enacted by the end of the reporting period and are expected to apply when the
             related deferred income tax asset is realized or the deferred income tax liability is settled.
             Deferred tax assets are recognized only if it is probable that future taxable amounts will be
             available to utilize those temporary differences and losses.

             The Company has not recognized any deferred tax asset as of December 31, 2019.

             Current and deferred tax is recognized in profit and loss, except to the extent that it relates to
             items recognized in other comprehensive income or directly in equity.




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                          NOTES TO CONSOLIDATED FINANCIAL STATEMENTS


NOTE 3 - PROPERTY AND EQUIPMENT

Recognition and measurement:
The carrying value of property and equipment is measured as the cost of the asset, less depreciation and
impairment. Costs include purchase price, other directly attributable costs and the initial estimate of the
costs of dismantling and restoring the asset, where applicable.

Depreciation:
The depreciable amount of all property and equipment is depreciated on a straight-line method from the date
that management determine that the asset is available for use.

Items of equipment are depreciated using the cost model, depreciated on a straight-line basis over their
useful lives. The cost model is where the asset is carried at its cost less any accumulated depreciation and any
Impairment losses. The estimated useful life of office furniture by the Company is 7 years.


                                                                 December 31,
                                                                 2019
                                                                  U.S. Dollars
              Cost -
                Office Furniture                                          $2,340
              L e s s - Accumulated depreciation:                              27
                                                                           $2,313

              Depreciation expense totaled to $27 for the period ended December 31, 2019.


NOTE 4 – NOTE RECEIVABLE:

                                                                             December 31, 2019
                                                                                   U.S. Dollars
                                                                     Principal    Interest                    Total

            Promissory note                                              250,000             1,219            251,219

             On 2 August 2019, the Company issued a promissory note for a maximum amount of drawn downs
             of $200,ooo in a schedule of four dated transactions of $50,000 each. The notes carry an annual
             interest of 2% and commence on the date of each drawdown. The unpaid principal along with the
             accrued interest shall be due and payable in full on 31 January 2021.

             The note can be converted into shares in the event of sale agreement prior to February 1, 2020
             according to the definitions and conditions defined in the note and at the discretion of the Company.
             Price per share for the conversion is based on a valuation amount determined within the note and
             the shares shall have the same rights and privileges as the most senior class of existing securities
             The promissory note was amended on 7 December, 2019 to a maximum amount of $400,000 to be
             drawn down in a schedule of eight transactions of $50,000 each and additional $100,000
             transaction reimbursement amount. In addition the date of the sale agreement was amended to 31
             March 2020.




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                          NOTES TO CONSOLIDATED FINANCIAL STATEMENTS


NOTE 5 – OTHER ACCOUNTS PAYABLE:

Other accounts payable is composed of the following:
                                                                                               December 31,
                                                                                               2019
                                                                                               U.S. Dollars

Customers’ deposits                                                                                     $3,815
Provision for payments to creditor under intellectual property assets purchase agreement                57,295
                                                                                                       $61,110


Customers’ deposits
The Company offered a promotional pre-launch offer including an Apple series 3 watch and three months
Overwatch seizure-monitoring service. Payments from costumers were received during November and
December while the delivery of the product is planned for February 2020.

Provision for payments to creditor under intellectual property assets purchase agreement
This amount is a provision for additional payments to creditors according to the intellectual property assets
purchase agreement of the Company’s subsidiary. See Note 12 for further details.

A provision is recognized when the Company has a present (legal or constructive) obligation as a result of a
past event, it is probable the Company will be required to settle the obligation, and a reliable estimate can be
made of the amount of the obligation. The amount recognized as a provision is the best estimate of the
consideration required to settle the present obligation at the reporting date, taking into account the risks and
uncertainties surrounding the obligation.




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                         NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE 6 – NOTES PAYABLE, INCLUDING INTEREST ACCRUED

The following provides information about the contractual terms of the Company’s interest-bearing loans and
borrowings.


                                                           December 31, 2019
                                                                 U.S. Dollars
                                   Principal      Allocated Amortization     Interest                     Total
                                                  to equity                  accrued

 Convertible promissory notes     $1,043,000      $(107,790)            $100,359       $69,131       $1,104,700
 Promissory notes                    700,000         (10,416)              4,730        28,821           723,135
                                  $1,743,000      $(118,206)            $105,089       $97,952       $1,827,835


                 The Company raised an aggregated amount of $1,043,00 in convertible promissory notes from
                 26 investors during the months February-April 2019.

                 The convertible promissory notes carry an interest of 8% per annum to be paid in cash or
                 shares at the interest maturity date. The maturity date of the convertible promissory notes is
                 nine months after the date of the deed and was extended to 1 May 2020.

                 In the event of change of control transaction as defined in the agreement, each investor shall
                 have the option immediately or prior to closing of such transaction either to convert the note
                 into shares or redeem each note for the face value plus accrued interest. Conversion price was
                 anticipated to be $1.50 at the notes’ issuance date and equity ownership of forty percent of the
                 Company.

                 In the event of completion of a reverse takeover on the Australian Securities Exchange to raise a
                 minimum of $4,000,000, the convertible promissory notes will automatically convert into shares
                 of common stock.

                 In the event the Company consummates, while these convertible promissory notes remain
                 outstanding, an equity financing pursuant to which it sells shares of common stock in a transaction
                 which results in total proceeds to the Company of not less than $1,000,000 (excluding conversion
                 of the notes) and which does not constitute a reverse takeover, then the investors shall have the
                 option at such time to convert their convertible promissory notes into shares of common stock.

                 If the Company shall not complete such transaction by the maturity date, it must redeem each
                 note within 15 business days.

                 The Company granted and pledged a security interest to the investors of the convertible
                 promissory note in all of the Company’s right, title and interest in, to and under intellectual
                 property.

                 The Company also raised $700,000 in promissory notes and warrant agreements from two
                 investors during the period September-December 2019. The promissory notes carry an
                 interest of 10% per annum if payment is on or before the first maturity date, 20% per annum
                 if payment is on or before the second maturity date and 25% per annum from the overdue date
                 and up until the amounts are paid in full. The second maturity date of the notes is 4 April 2020.




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                          NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE 6 – NOTES PAYABLE, INCLUDING INTEREST ACCRUED (contined)

                  The agreement also grants the investors warrants to purchase shares of the Company‘s
                  common stock at an exercise price of $1.56. The warrants are exercisable for a term of five
                  years. Each maturity date grants the investor a different ceiling of warrants which can be
                  purchased on that date.

                  The liabilities were recognized at the fair value of similar liabilities that do not have an
                  equity conversion option and measured at amortized cost using the effective interest
                  method. The equity components were recognized at the difference between the fair value of
                  each compound financial instrument as a whole and the fair value of each liability
                  component. The equity component is not remeasured. Interest related to the financial
                  liabilities are recognized in profit or loss.



NOTE 7 – EQUITY


ORDINARY SHARES

As of December 31, 2019, 1,000 common shares of $0.001 par value each were issued to a sole holding
shareholder.


OTHER EQUITY

                                                                                      December
                                                                                       31, 2019
                                                                        Note
                                                                                     U.S. Dollars


Value of conversion rights attributed from convertible notes              (I)              $107,790
Warrants attributed from promissory notes                                (II)                 10,416
                                                                                           $118,206


    (I)     The amount shown as conversion rights is the value of the conversion rights relating to the convertible
            notes, details of which are shown in note 6.

    (II)    The amount shown as warrants is the value of the warrants relating to the promissory notes and warrants
            agreement, details of which are shown in note 6.




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                                   Overwatch Digital Health, Inc.
                          NOTES TO CONSOLIDATED FINANCIAL STATEMENTS


NOTE 8 – RESEARCH AND DEVELOPMENT
                                                                       For the period
                                                                       January 7(*),
                                                                       2019 through
                                                                       December 31,
                                                                            2019
                                                                        U.S. Dollars

                    Consultants                                               $325,114
                    Consumable materials and other expenses                     27,041
                                                                              $352,155
(*) Incorporation date.

NOTE 9 – SALES AND MARKETING
                                                                       For the period
                                                                       January 7(*),
                                                                       2019 through
                                                                       December 31,
                                                                            2019
                                                                        U.S. Dollars

                    Marketing and advertising                                 $52,000
                    Consultants                                               168,859
                                                                             $220,859
(*) Incorporation date.



NOTE 10 – GENERAL AND ADMINISTRAIVE
                                                                       For the period
                                                                       January 7(*),
                                                                       2019 through
                                                                       December 31,
                                                                            2019
                                                                        U.S. Dollars

                    Professional expenses                                     $482,951
                    Travel and entertainment                                    94,783
                    Office expenses                                             35,323
                    Rent and related expenses                                   44,443
                    Depreciation                                                    27
                                                                              $657,527
(*) Incorporation date.




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                                   Overwatch Digital Health, Inc.
                          NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

NOTE 11 – FINANCIAL EXPENSES, net
                                                                                      For the period
                                                                                      January 7(*),
                                                                                      2019 through
                                                                                      December 31,
                                                                                           2019
                                                                                       U.S. Dollars

       Finance income
       Interest accrued on promissory note                                                      $(1,219)
       Finance expenses
       Interest accrued on convertible promissory note issued                                     69,131
       Interest accrued on promissory note issued                                                28,821
       Amortization of interest on promissory note related to equity allocation                    4,730
       Amortization of interest on convertible note related to equity allocation                100,359
       Bank charges                                                                                1,296
                                                                                               $203,118

(*) Incorporation date.


NOTE 12 – OTHER LOSSES

                                                                                      For the period
                                                                                      January 7(*),
                                                                                      2019 through
                                                                                      December 31,
                                                                                           2019
                                                                                       U.S. Dollars

           Impairment of intellectual property assets purchased                                $338,861

(*) Incorporation date.

On February 11, 2019, the Company’s subsidiary entered into an agreement to acquire the intellectual property
of Biolert, Ltd (“Biolert”). As part of this agreement, the Company’s subsidiary paid to Biolert’s creditors an
aggregated amount of $281,565. Subsequent to these payments, the Company determined that Biolert’s claims
regarding its intellectual property were not substantiated and that the Company’s own proprietary technology
was more accurate than the technology covered by Biolert’s intellectual property. As a result, the Company’s
subsidiary terminated the agreement and made a demand to Biolert for the return of the $281,565 paid to
Biolert’s creditors. To date, Biolert has not responded to this demand.

The Company’s management assessment is that the intellectual asset does not have an economic value and
therefore the asset was fully impaired.




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                                   Overwatch Digital Health, Inc.
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NOTE 13 – OTHER DISCLOSURE

RELATED PARTY TRANSACTIONS

The table below provides key management personnel, or their related parties, compensation:

                                                                                        For the period
                                                                                        January 7(*),
                                                                                        2019 through
                                                                                        December 31,
                                                                                             2019
                                                                                         U.S. Dollars

      Payment to CEO, including expenses reimbursements and health insurance                      $251,675
      Payment to CEO’s family, including expenses reimbursements                                    85,682
      Payments to company owned by CEO                                                               4,000
                                                                                                  $341,357




NOTE 14 – GUARANTIES AND COLLATERAL

The Company granted and pledged a security interest to the investors of the convertible promissory note in all
of the Company right, title and interest in, to and under intellectual property.

NOTE 15 – LEGAL MATTERS

From time to time, in the normal course of its operations, the Company may be a party to litigation and other
dispute matters and claims. Litigation can be expensive and disruptive to normal business operations.
Moreover, the results of complex legal proceedings are difficult to predict. An unfavorable outcome to any legal
matter, if material, could have a materially adverse effect on the Company’s operations or its financial position,
liquidity or results of operations. As of 31 December 2019, there were no pending or threatened lawsuits or
claims that could reasonably be expected to have a material effect on the Company’s consolidated financial
position or consolidated results of operations



NOTE 16 – SUBSEQUENT EVENTS

The Company issued in January 2020 convertible notes for an aggregated amount of $250,000 carrying an 8%
interest per annum. The maturity date of the notes is 1 June 2020. Upon a reverse takeover of a publicly traded
Australian entity the notes and its unpaid interest will automatically be converted into shares of the Australian
entity. The notes can be extended by the majority of the holders up until 1 December, 2020 and if the notes are
still outstanding by the extended maturity date then they will be converted to the Company’s common stock.
Within thirty days of the issuance of the notes, the noteholders shall receive an option to purchase one share of
the Company for every three shares due upon conversion of the note.




                                                       ***




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                                    EXHIBIT F


           Email from Terry Fokas, CEO of Overwatch, Dated 24 August 2020
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R.J. Shannon

From:                               Terry Fokas <terry.fokas@overwatchdh.com>
Sent:                               Monday, August 24, 2020 6:17 PM
To:                                 Barrett Clive; Emmanuel Correia
Subject:                            FW: ODH - No response on Invoice email


Clive, Manny:

The email below is from Overwatch’s sole remaining developer who we pay $5,000/month (which is very cheap for a
full-time developer). We are three months behind (June/July/August) in paying his invoices. Soon to be four months
(September). Waqas is the only developer we have left who knows the Overwatch App codebase and if we lose him we
will not be able to fix the problems that we invariably experience on a regular basis with the monitoring, detecting and
alerting functionality.

I’m also getting emails like this every day from other vendors (both in Israel and in the United States) who we promised
to pay in August or September and I (and Eran) can’t give them any response on when or if we’ll be able to pay them
(telling them that additional funding is contingent upon ASX listing approval will not be well received).

The reason I’m telling you all this is because I don’t want you guys to be blindsided by the status of the companies:
Overwatch is at a very critical juncture (as is BioEye) and if we don’t raise money soon we will seriously have to consider
shutting down operations in the next 2-3 weeks.

Clive had recently brought up the idea of going to Adam/Rision and asking them to raise money for us. Is there anything
that can be done with Rision in this regards? FYI, I reached out twice to Philip Currie (who, I understand, is a significant
shareholder in Rision) and he’s ignored my outreach.

Terry

From: Stephanie Fokas <stephanie.fokas@overwatchdh.com>
Sent: Monday, August 24, 2020 6:00 PM
To: Terry Fokas <terry.fokas@overwatchdh.com>
Subject: Fw: ODH - No response on Invoice email

FYI from Waqas.


From: Waqas Arsalan <waqas.arsalan@overwatchdh.com>
Sent: Monday, August 24, 2020 1:44 PM
To: Stephanie Fokas <stephanie.fokas@overwatchdh.com>
Cc: Arsalan O16 Labs <arsalan@o16-labs.com>; Waqas O16 Labs <waqas@o16-labs.com>
Subject: ODH - No response on Invoice email

Hello Stephanie, Is everything alright?

We've not received any response on July '20 Invoice while June '20 still unpaid.

Can you please update when will these invoices will clear?

Kind Regards,
                                                               1
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Waqas




                                           2
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                                     EXHIBIT G


           Email from Terry Fokas, CEO of Overwatch, Dated 1 September 2020
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R.J. Shannon

From:                              Terry Fokas <terry.fokas@overwatchdh.com>
Sent:                              Tuesday, September 1, 2020 7:14 AM
To:                                Adam Sierakowski
Cc:                                Steve Rosich; Emmanuel Correia
Subject:                           Re: Danny Frawley was suffering from chronic brain disease when he died


Understood Adam and I appreciate your efforts.

Given where we are financially, I’ll lay off remaining staff off today. Also, with a 14 day delay to obtaining any funding,
we won’t be able to complete the audits for Overwatch and BioEye within the timeline you distributed recently.

Both are regrettable but we don’t have any funds in the bank so we have to start winding our business operations down
until/unless the funding situation changes in the very near future.

Best,
Terry


Get Outlook for iOS

From: Adam Sierakowski <adam@tridentcapital.com.au>
Sent: Tuesday, September 1, 2020 7:03:37 AM
To: Terry Fokas <terry.fokas@overwatchdh.com>
Cc: Steve Rosich <steve.rosich7@gmail.com>; emmanuel.correia@pelotoncapital.com.au
<emmanuel.correia@pelotoncapital.com.au>
Subject: Re: Danny Frawley was suffering from chronic brain disease when he died
Thanks Terry,

Appreciate the update. I spoke to Manny yesterday and he requested whether RNL would be able to attract funding into
OTL.

I said potentially but these fund raising endeavours at best take at least 14 days in introducing the opportunity,
discussing the investment instrument and explaining the risks investing in a US company.

To be honest 50% chance at this stage.

Adam Sierakowski
Trident Capital



        On 1 Sep 2020, at 19:57, Terry Fokas <terry.fokas@overwatchdh.com> wrote:


        No update, Adam. We shut down Eympact in March to conserve funds. In May, Clive advised me to have
        a product ready for sidelines use by 31 July so we started burning funds on that endeavor. We shut
        down that effort in early July when Steve and the AFL told us that it was unlikely we would be able to
        work together this season.


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No news or updates either from the University or Cincinnati which has been shut down through the
summer due to COVID-19.

On a different topic I presume you were not able to confirm that any Rision investors would make an
investment into Overwatch? If that assumption is correct please let me know? I will have to terminate
all remaining staff in the US today so I don’t incur personal liability for their September salaries.

Also, if we can’t confirm additional funding by next week, it is unlikely that the audits for either company
will be completed by the end of this month.

Best,
Terry


Get Outlook for iOS

From: Adam Sierakowski <adam@tridentcapital.com.au>
Sent: Tuesday, September 1, 2020 5:54:33 AM
To: Steve Rosich <steve.rosich7@gmail.com>
Cc: emmanuel.correia@pelotoncapital.com.au <emmanuel.correia@pelotoncapital.com.au>; Terry
Fokas <terry.fokas@overwatchdh.com>
Subject: Re: Danny Frawley was suffering from chronic brain disease when he died
Terry,

Is there an update on the OTL concussion status.

I have been approached by Australian journalists regarding the status of the technology.

Adam Sierakowski
Trident Capital



        On 1 Sep 2020, at 06:22, Steve Rosich <steve.rosich7@gmail.com> wrote:


        Gents,

        This is big news in Melbourne today:

        Danny Frawley was suffering from chronic brain disease when he died


        https://www.theage.com.au/sport/afl/danny-frawley-was-suffering-from-chronic-brain-
        disease-when-he-died-20200831-p55r3k.html




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                                    EXHIBIT H


           Email from Terry Fokas, CEO of Overwatch, Dated 12 October 2020
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R.J. Shannon

From:                              Terry Fokas <terry.fokas@overwatchdh.com>
Sent:                              Monday, October 12, 2020 12:14 PM
To:                                Clive Barrett
Cc:                                Emmanuel Correia
Subject:                           RE: Overwatch


Clive,

As I previously noted to you on our last call and to Manny on a call with him several weeks ago, there is no interest from
prospective investors to invest the time, money and effort in the necessary due diligence to make a determination on
whether to invest in Overwatch while the promissory notes and the convertible promissory notes remain outstanding.
This issue is exacerbated by the fact that Overwatch has no employees, no development work being undertaken and a
rapidly shrinking subscriber base as well as the current amount of company’s trade and vendor obligations which are in
excess of USD $500,000.

I’m happy to provide you (or any other noteholder) with our calendar year 2020 QuickBooks files provided we first have
a non-disclosure agreement in place. If you need specific financial statements prepared from Overwatch’s 2020
QuickBooks files, I can put you in touch with Brooks-Keret (they prepared our 2019 audited finacials and they were in
the process of preparing the stub 2020 audited financials) which will advise you on the cost of preparing such financials
statements.

There is no interest from prospective investors to buy out now the convertible note holders particularly, given the lack
of a functioning company and the debt issues I noted above.

As I’ve noted in previous emails and discussions, we had to have the conversion issue resolved by 15 October so that I
could raise funding (I’ve been personally loaning money to Overwatch since July to continue service its subscriber base
and I don’t have the ability to continue paying the company’s expenses).

Given the delay in getting your (non) response below and the lack of clarity on how to move forward, we’ve
unfortunately have run out of time and runway. I recently retained Judith Ross as Overwatch’s bankruptcy counsel so I’ll
interface with her tomorrow (today is a holiday in the U.S.) so she can begin the process of filing for bankruptcy. Going
forward, have your legal counsel interface directly with Harvey Bines on corporate matters and with Judith Ross on
bankruptcy-related matters.

I’ll draft and disseminate a letter to all noteholders this week advising them of the ASX’s decision to deny our application
for listing as well as Overwatch’s decision to file for bankruptcy. I’ll also let Adam Sierakowski and Steve Rosich
(respectively, as legal counsel and Chairman of the Board for Rision, Ltd) know that Overwatch is filing for bankruptcy
and that they need to make the necessary public and regulatory filings and notifications that the Overwatch-Rision
transaction has been terminated.

I’ve copied below the contact information for Harvey Bines and Judith Ross which you should forward to your corporate
and/or insolvency counsel.

Regards,
Terry

Harvey Bines
Sullivan & Worcester, LLP

                                                             1
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Office: (617) 338-2828
Email: hbines@sullivanlaw.com

Judith Ross
Ross & Smith, PC
Office: (214) 377-7879
Emaill: Judith.ross@judithross.com




From: Clive Barrett <Clive.Barrett@fcfg.com.au>
Sent: Sunday, October 11, 2020 11:21 PM
To: Terry Fokas <terry.fokas@overwatchdh.com>
Cc: Manny Correia <Emmanuel.Correia@pelotoncapital.com.au>
Subject: Overwatch

Hi Terry

Good to talk with you.

We’ve spoken with all Con Note holders and the unanimous feedback is they are not in a position to consider whether to
convert or to seek repayment of their monies, without at least a plan for the business/company being outlined for their
consideration. Providing the up to date financials of the company would also be helpful.

Alternatively, the people/groups who have expressed interest in investing in Overwatch can make an offer to buy out
the Con Note holders. This may be a sensible, as well as the simplest solution.

Regards

Clive




           On 4 Oct 2020, at 12:03 am, Terry Fokas <terry.fokas@overwatchdh.com> wrote:


           Hi Clive,

           Thanks for the update regarding your discussions with the BioEye shareholders. Happy to talk
           with you and Manny so we can make the necessary arrangements about how to move forward.

           One point I wanted to flag in advance of our discussion was an issue that Manny had raised in a
           recent call regarding a global license to BioEye of Overwatch’s technology. As you know,
           Overwatch can be utilized commercially worldwide in the epilepsy market and my recent
           discussions with prospective U.S. investors have included funding for global epilepsy marketing
           and product-support initiatives. If you or Manny have ideas for independent epilepsy
           distribution in specific markets, such as Australia, or, as Manny seemed to indicate, you wish to

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explore adapting Overwatch’s technology to other movement disorders or tremor-afflictions,
that could be of interest. In either case, we might usefully explore ways which help you
complete the Rision transaction with BioEye (including, providing my personal assistance as
might be reasonably necessary or useful to getting BioEye listed on the ASX).

Whatever we decide to do about Rision, BioEye and the ASX, it would be helpful to understand
your current objectives better and how you think they should be addressed. I look forward to
seeing a proposal from you or Manny enough in advance of our call for me to be fully
responsive. The more specific you can be, the more productive our discussion will be.

Finally, I have asked Harvey Bines to be on the line when we speak since we’ll need to draw up
the necessary legal documents to memorialize the arrangement to move forward and Harvey
will be papering the U.S. side of whatever we agree on. Of course, especially if we will be
discussing ways to enable a Rision/BioEye offering in Australia, you should consider having your
counsel attend that call as well.

When you (or Manny) send these proposals, please also let me know what days/times work
best for you guys (and your legal counsel) for a call and I’ll synch up with Harvey on his
availability.

Best,
Terry

From: Clive Barrett <Clive.Barrett@fcfg.com.au>
Sent: Tuesday, September 29, 2020 7:32 AM
To: Terry Fokas <terry.fokas@overwatchdh.com>
Cc: Emmanuel Correia <Emmanuel.Correia@pelotoncapital.com.au>
Subject: OVerwatch

Hi Terry

Good to talk with you a few days ago. I’ve now had a chance to speak with all BioEye shareholders,
something I Indicated I’d be doing.

The clear consensus is to keep the company independent, to focus on meeting it’s day to day
commitments and to maintain its private status until there’s a change in the economic landscape.

As suggested by Manny in a previous email, all options will be considered until the most suitable path
emerges. It’s definitely best that your discussions/negotiations on Overwatch with investors and other
parties be limited to Overwatch. From our perspective, any kind of sensible commercial arrangements
between Overwatch and BioEye will be considered and encouraged.

Moss and I are agreeable to Manny’s suggestion about swapping our loans to Overwatch with a loan to
BioEye. This would offset the loan from Overwatch to BioEye and provide a clean solution to the current
loan obligations for both companies.

Please let Manny and I know when’s best to talk again so that we can make the necessary arrangements
to move forward.

Regards

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Clive




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                                    EXHIBIT I


                      Notice of Default and Demand for Payment
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EXHIBIT A - ALL INVESTORS AND PAYABLE AMOUNTS
                                                                                Interest Accrued Date
Interest rate                                                             8%                    1-Jun-21
                                                                                                                       Interest   Interest
                                                            Face Value                Note Date            Note #'s      Days     Accrued    Total Due
Colepin ATF Barrett and Sons Trading Co Super Fund           $50,000
Attention: Mr. Clive Barrett
Address: c/o Quantum Partners, Level 1, 95-97 Grafton                                 2/15/2019             1 – 500         837     $9,173        $59,173
Email: clive@colpin.com

Colepin ATF Barrett and Sons Trading Co Super Fund
Attention: Mr. Clive Barrett                          N/A--Interest Remaining         2/15/2019             1-500           837    $82,553        $82,553
Address: c/o Quantum Partners, Level 1, 95-97 Grafton after setoff
Email: clive@colpin.com

HT Barrett Family Trust
Attention: Mr. Steven Barrett                                                                                               833     $9,129        $59,129
Address: c/o Balance & Co., U3B Level 3, 5 Belmore           $50,000                  2/19/2019            501-551
Email: steven.barrett@fcfg.com.au

Onn Dodis
Address: Avshalom 5 Rishon Le Zion, Israe                                                                                   833     $5,112        $33,112
                                                             $28,000                  2/19/2019            552 – 580
Email: onn@boxofdreams.org

Adiel Moyal
Address: Aegoz 2 B Ashqelon, Israel                                                                                         833     $5,112        $33,112
                                                             $28,000                  2/19/2019            581 – 609
Email: adielmoyal@gmail.com

Guy Duani
Address: Nahum Sokolov 32 Tel Aviv, Israel                                                                                  832     $5,101        $33,071
                                                             $27,970                  2/20/2019            610 – 638
Email: guy.duani@gmail.com

Alon Lavie
Address: 2013 Sombrero Palm, Ocean Village Mews,                                                                            831     $5,100        $33,100
                                                             $28,000                  2/21/2019            639 – 667
Email: lavie.alone@gmail.com

Gary Snow
Address: 8/36 Penkivil Street Bondi NSW 2026                                                                                820     $8,986        $58,986
                                                             $50,000                   3/4/2019            668 – 718
Email: garysnow52@gmail.com

LAW Investment Holdings Pty Ltd ATF LAW
Address: 8 Eldorado Street Colebee NSW 2761                                                                                 820     $1,258         $8,258
                                                              $7,000                   3/4/2019            719 – 726
Email: ndrew.walker@firstclassfs.com.au

Walker Family Superfund Pty Ltd ATF Walker Family
Address: 8 Eldorado Street Colebee NSW 2761                                                                                 820     $1,258         $8,258
                                                              $7,000                   3/4/2019            727 – 734
Email: ndrew.walker@firstclassfs.com.au

Praha Nominees Pty Ltd.
Jag Unit A/C                                                                                                                809     $6,206        $41,206
Address: PO Box 1645, West Perth WA 6872                     $35,000                  3/15/2019            735 – 770
Email: john@jagilfillan.com.au

Mill Point Consulting Pty Ltd
39/44 Kings Park Rd West Perth WA 6872                                                                                      809     $2,482        $16,482
                                                             $14,000                  3/15/2019            771 – 785
Email: admin@gilfillan.com.au

Leigh Mackinnon
54 View St East Fremantle WA 6158                                                                                           809     $3,014        $20,014
                                                             $17,000                  3/15/2019            786 – 803
Email: leighmackinnon@gmail.com.au

Ashikaga Pty Ltd
The Rowe Superannuation Fund                                                                                                809     $1,241         $8,241
Suite 7, 16 Nicholson Rd, Subiaco WA 6008                     $7,000                  3/15/2019            804 – 811
Email:

John Funchess & John Funchess Jr.
J & L Funchess Super Fund A/C                                                                                               809     $1,773        $11,773
PO Box 1645 West Perth WA 6872                               $10,000                  3/15/2019            812 – 822
Email: funchess@bigpond.com

Simon & Robyn Melville
S & R Melville Super Fund A/C                                                                                               809     $1,773        $11,773
32A Scott St South Fremantle WA 6162                         $10,000                  3/15/2019            823 – 833
Email: simon@roofing2000.com.au

Glenda & Matt Lazzarich
Glenmatt Super Fund A/C                                                                                                     809     $1,241         $8,241
PO Box 1645 West Perth WA 6872                                $7,000                  3/15/2019            834 – 841
Email: john@jagilfillan.com.au

Kruger Park Pty Ltd.
PO Box 1305, Double Bay NSW 1360 Australia                                                                                  804    $13,216        $88,216
Attention: Allan Zion                                        $75,000                  3/20/2019            842 – 917
Email: azion@shawandpartners.com.au

Mr. Richard Peter Dowle
172 Williams St Gooseberry Hill WA 6076                                                                                     802     $1,230         $8,230
                                                              $7,000                  3/22/2019            918 – 925
Email: conceit2@bigpond.com

Jed International P/L
Unit 39, 44 Kings Park Rd West Perth WA                                                                                     802     $4,043        $27,043
Attention: Ms. Susan Calton                                  $23,000                  3/22/2019            926 – 949
Email: admin@gilfillan.com.au
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Bingopolous Super Fund
PO Box 1645 West Perth WA 6872                                                                                          802      $1,230          $8,230
Attention Todd Stiles & Rachel Daniels                        $7,000              3/22/2019           950 – 957
Email: john@jagilfillan.com.au

L & S Fenton Superannuation Fund
PO Box 65 Beaconsfield Upper,                                                                                           783      $2,574         $17,574
Victoria, 3808.
Trustee for the Super Fund. L A Fenton Pty Ltd., ACN         $15,000              4/10/2019           958 – 973
Attention: Laurie Fenton
Email: laurie@fentonsolutions.com.au

T&N ALABAKIS Superannuation Fund
Address: 28 Loma Street. Cottesloe,                                                                                     783      $2,574         $17,574
Western Australia 6011                                       $15,000              4/10/2019           974 – 989
Trustee for the Super Fund Kenze Pty Ltd, ACN: 167
Attention: Tom Alabakis
Email: alabakis@bigpond.com
Assunta Tarulli
88 Lawley Crescent                                                                                                      783      $2,574         $17,574
Mt Lawley, Western Australia 6050                            $15,000              4/10/2019           990 – 1005
Attention: Nino Tarull
Email: ntarulli@gmail.com

Mrs. Louise Jane Hartwig
16 Tasman Street                                                                                                        783      $1,716         $11,716
Bondi NSW 2026                                               $10,000              4/10/2019          1006 – 1016
Attention: Shane Hartwig
Email: shane.hartwig@pelotoncapital.com.au

Cardrona Energy Pty Ltd
29 Loma Street, Cottesloe WA 6011                                                                                       783      $1,716         $11,716
Attention: Emanuel Correia                                   $10,000              4/10/2019          1017 – 1027
Email: Emmanuel.correia@pelotoncapital.com.au

Peloton Advisory Pty Ltd
Level 5, 56 Pitt Street, Sydney NSW 2000                                                                                783      $6,865         $46,865
Attention: Emmanuel Correia                                  $40,000              4/10/2019          1028 – 1068
Email: Emmanuel.correia@pelotoncapital.com.au

                                                           $592,970.00                                                        $188,253     $781,223

                      Investor                                                                     Convertible Note
              (Name, Address & Email)                  Amount of Investment   Date of Investment     Certificate
                                                                                                      Numbers
Joel Bines
6031 Norway                                                                                                             428      $4,690         $54,690
                                                            $50,000.00            3/30/2020          1898 – 1948
Dallas, Texas 75230

Joel Bines
6031 Norway                                                                                                             405      $4,438         $54,438
                                                            $50,000.00            4/22/2020          1949 – 1999
Dallas, Texas 75230

Mossco Capital (Luxembourg) SARL
6 Rue Eugene Ruppert Luxembourg                                                                                         390     $13,890        $176,390
Attention: Wayne Abramsohn                                 $162,500.00             5/7/2020          2000 – 2163
Email: wa@rosefin.com

Mill Point Consulting Pty Ltd
39/44 Kings Park Rd West Perth WA 6872                                                                                  390       $427           $5,427
                                                            $5,000.00              5/7/2020          2164 – 2169
Email: admin@gilfillan.com.au

Ashikaga Pty Ltd
The Rowe Superannuation Fund                                                                                            393       $603           $7,603
Suite 7, 16 Nicholson Rd, Subiaco WA 6008                   $7,000.00              5/4/2020          2170 – 2177
Email:

Big Fish Mandurah Quay Pty Ltd
Suite 12, One The Esplanade Mount Pleasant WA                                                                           389      $2,132         $27,132
                                                            $25,000.00             5/8/2020          2178 – 2203
Email: admin@gilfillan.com.au

                                                           $299,500.00                                                                         $325,681

                 Total Con Note and A1 Face Value:                 $892,470                                 Total Amount Outstanding:     $1,106,904.42
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EXHIBIT B - MAJORITY INVESTORS AND PAYABLE AMOUNTS
                                                                                 Interest Accrued Date
Interest rate                                                               8%                   1-Jun-21
                                                                                                                         Interest   Interest
                                                             Face Value                 Note Date            Note #'s      Days     Accrued    Total Due
Colepin ATF Barrett and Sons Trading Co Super Fund            $50,000
Attention: Mr. Clive Barrett
Address: c/o Quantum Partners, Level 1, 95-97 Grafton                                   2/15/2019            1 – 500          837     $9,173       $59,173
Email: clive@colpin.com

Colepin ATF Barrett and Sons Trading Co Super Fund
Attention: Mr. Clive Barrett                               N/A - Interest               2/15/2019             1-500           837    $82,553       $82,553
Address: c/o Quantum Partners, Level 1, 95-97 Grafton after setoff
Email: clive@colpin.com

HT Barrett Family Trust
Attention: Mr. Steven Barrett                                                                                                 833     $9,129       $59,129
Address: c/o Balance & Co., U3B Level 3, 5 Belmore            $50,000                   2/19/2019            501-551
Email: steven.barrett@fcfg.com.au

Onn Dodis
Address: Avshalom 5 Rishon Le Zion, Israel                                                                                    833     $5,112       $33,112
                                                              $28,000                   2/19/2019           552 – 580
Email: onn@boxofdreams.org

Guy Duani
Address: Nahum Sokolov 32 Tel Aviv, Israel                                                                                    832     $5,101       $33,071
                                                              $27,970                   2/20/2019           610 – 638
Email: guy.duani@gmail.com

Alon Lavie
Address: 2013 Sombrero Palm, Ocean Village Mews,                                                                              831     $5,100       $33,100
                                                              $28,000                   2/21/2019           639 – 667
Email: lavie.alone@gmail.com

Gary Snow
Address: 8/36 Penkivil Street Bondi NSW 2026                                                                                  820     $8,986       $58,986
                                                              $50,000                   3/4/2019            668 – 718
Email: garysnow52@gmail.com

LAW Investment Holdings Pty Ltd ATF LAW
Address: 8 Eldorado Street Colebee NSW 2761                                                                                   820     $1,258         $8,258
                                                               $7,000                   3/4/2019            719 – 726
Email: ndrew.walker@firstclassfs.com.au

Walker Family Superfund Pty Ltd ATF Walker Family
Address: 8 Eldorado Street Colebee NSW 2761                                                                                   820     $1,258         $8,258
                                                               $7,000                   3/4/2019            727 – 734
Email: ndrew.walker@firstclassfs.com.au

Praha Nominees Pty Ltd.
Jag Unit A/C                                                                                                                  809     $6,206       $41,206
Address: PO Box 1645, West Perth WA 6872                      $35,000                   3/15/2019           735 – 770
Email: john@jagilfillan.com.au

Mill Point Consulting Pty Ltd
39/44 Kings Park Rd West Perth WA 6872                                                                                        809     $2,482       $16,482
                                                              $14,000                   3/15/2019           771 – 785
Email: admin@gilfillan.com.au

Leigh Mackinnon
54 View St East Fremantle WA 6158                                                                                             809     $3,014       $20,014
                                                              $17,000                   3/15/2019           786 – 803
Email: leighmackinnon@gmail.com.au

Ashikaga Pty Ltd
The Rowe Superannuation Fund                                                                                                  809     $1,241         $8,241
Suite 7, 16 Nicholson Rd, Subiaco WA 6008                      $7,000                   3/15/2019           804 – 811
Email:

Kruger Park Pty Ltd.
PO Box 1305, Double Bay NSW 1360 Australia                                                                                    804    $13,216       $88,216
Attention: Allan Zion                                         $75,000                   3/20/2019           842 – 917
Email: azion@shawandpartners.com.au

Jed International P/L
Unit 39, 44 Kings Park Rd West Perth WA                                                                                       802     $4,043       $27,043
Attention: Ms. Susan Calton                                   $23,000                   3/22/2019           926 – 949
Email: admin@gilfillan.com.au

L & S Fenton Superannuation Fund
PO Box 65 Beaconsfield Upper,                                                                                                 783     $2,574       $17,574
Victoria, 3808.
Trustee for the Super Fund. L A Fenton Pty Ltd., ACN          $15,000                   4/10/2019           958 – 973
Attention: Laurie Fenton
Email: laurie@fentonsolutions.com.au

T&N ALABAKIS Superannuation Fund
Address: 28 Loma Street. Cottesloe,                                                                                           783     $2,574       $17,574
Western Australia 6011                                        $15,000                   4/10/2019           974 – 989
Trustee for the Super Fund Kenze Pty Ltd, ACN: 167
Attention: Tom Alabakis
Email: alabakis@bigpond.com
Assunta Tarulli
88 Lawley Crescent                                                                                                            783     $2,574       $17,574
Mt Lawley, Western Australia 6050                             $15,000                   4/10/2019           990 – 1005
Attention: Nino Tarulli
Email: ntarulli@gmail.com
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Mrs. Louise Jane Hartwig
16 Tasman Street                                                                                                 783     $1,716       $11,716
Bondi NSW 2026                                         $10,000             4/10/2019          1006 – 1016
Attention: Shane Hartwig
Email: shane.hartwig@pelotoncapital.com.au

Cardrona Energy Pty Ltd
29 Loma Street, Cottesloe WA 6011                                                                                783     $1,716       $11,716
Attention: Emanuel Correia                             $10,000             4/10/2019          1017 – 1027
Email: Emmanuel.correia@pelotoncapital.com.au

Peloton Advisory Pty Ltd
Level 5, 56 Pitt Street, Sydney NSW 2000                                                                         783     $6,865       $46,865
Attention: Emmanuel Correia                            $40,000             4/10/2019          1028 – 1068
Email: Emmanuel.correia@pelotoncapital.com.au

                                                      $523,970.00                                                      $175,893   $699,863
                      Investor                                                              Convertible Note
                                                       Amount of
              (Name, Address & Email)                                  Date of Investment     Certificate
                                                      Investment
                                                                                               Numbers
Mossco Capital (Luxembourg) SARL
6 Rue Eugene Ruppert Luxembourg                                                                                  390    $13,890      $176,390
Attention: Wayne Abramsohn                            $162,500.00           5/7/2020          2000 – 2163
Email: wa@rosefin.com

Mill Point Consulting Pty Ltd
39/44 Kings Park Rd West Perth WA 6872                                                                           390       $427        $5,427
                                                       $5,000.00            5/7/2020          2164 – 2169
Email: admin@gilfillan.com.au

Ashikaga Pty Ltd
The Rowe Superannuation Fund                                                                                     393       $603        $7,603
Suite 7, 16 Nicholson Rd, Subiaco WA 6008              $7,000.00            5/4/2020          2170 – 2177
Email:

                                                      $174,500.00                                                                    $189,421

                  Total Con Note and A1 Face Value:         $698,470                                Totoal Amount Outstanding:    $889,283.60
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EXHIBIT C - WIRE INSTRUCTIONS



                                  Parkins Lee & Rubio LLP
                                 IOLTA Client Trust Account
                                      Wire Instructions




                                JPMorgan Chase Bank, N.A.
                                dba Chase Bank
                                8 East Pkwy, Scarsdale, NY 10583

                                Account Number
                                ABA Number
                                (For international transfers: CHASUS33)

                                For the benefit of:
                                Parkins Lee & Rubio LLP
                                IOLTA Client Trust Account
                                700 Milam, Suite 1300
                                Houston, Texas 77002
